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                                 Financial Report

                 Roman Catholic Church of the
                  Archdiocese of New Orleans
                     Administrative Offices
                                   June 30, 2019




                                        ARCHDIOCESE                  OF

                                 NEW ORLEANS




                       Bourgeois Bennett
                                  ^^CERTIFIED PUBI.IC ACCOUNTANTS | CONSUlTANTS
                                                        A LIMITED LrABILITY COMPANY

                                                                                      EXHIBIT 3
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                                 Financial Report

                 Roman Catholic Church of the
                  Archdiocese of New Orleans
                    Administrative Offices
                                   June 30, 2019
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                              Administrative Offices

                                    June 30. 2019 and 2018




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                                FINANCIAL SECTION
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                                                            Bourgeois Bennett
                                                                        ^^CERTIFIED PUBLIC ACCOUNTANTS | CONSULTANTS
                                                                                             A LIMITED LIABILITY COMPANY




                           INDEPENDENT AUDITOR S REPORT



To the Most Reverend Gregory M. Aymond,
       Archbishop of the Roman Catholic Church of
             The Archdiocese of New Orleans,
                   New Orleans, Louisiana.

Report on the Financial Statements

       We have audited the accompanying financial statements of the Roman Catholic Church of
the Archdiocese of New Orleans Administrative Offices (the "Administrative Offices"), which
comprise the statements of financial position as of June 30, 2019 and 2018, the related statements
of activities and cash flows for the years ended June 30, 2019 and 2018, the related statement of
functional expenses for the year ended June 30, 2019, and the related notes to the financial
statements.

Management's Responsibility for the Financial Statements

       Management is responsible for the preparation and fair presentation of these financial
statements in accordance with accounting principles generally accepted in the United States of
America; this includes the design, implementation, and maintenance of internal controls relevant to
the preparation and fair presentation of financial statements that are free from material misstatement,
whether due to fraud or error.

Auditor's Responsibility

         Our responsibility is to express an opinion on these financial statements based on our audits.
We conducted our audits in accordance with auditing standards generally accepted in the United
States of America and the standards applicable to financial audits contained in Government Auditing
Standards, issued by the Comptroller General of the United States. Those standards require that we
plan and perform the audits to obtain reasonable assurance about whether the financial statements
are free from material misstatement.




                                                   1
              P.O. Box 60600 . NEW ORLEANS, LA 70160-0600 504.831.4949 BOURGEOISBENNETT.COM
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       An audit involves performing procedures to obtain audit evidence about the amounts and
disclosures in the financial statements. The procedures selected depend on the auditor's judgment,
includinu the assessment of the risks of material misstatement of the financial statements, whether
due to fraud or error. In making those risk assessments, the auditor considers internal control
relevant to the entity's preparation and fair presentation of the financial statements in order to design
audit procedures that are appropriate in the circumstances, but not for the purpose of expressing an
opinion on the effectiveness of the entity's internal control. Accordingly, we express no such
opinion. An audit also includes evaluating the appropriateness of accounting policies used and the
reasonableness of significant accounting estimates made by management, as well as evaluating the
overall presentation of the financial statements.

       We believe that the audit evidence we have obtained is sufficient and appropriate to provide
a basis for our audit opinion.

Opinion

       In our opinion, the financial statements referred to above present fairly, in all material
respects, the financial position of the Administrative Offices as of June 30, 2019 and 2018, and the
changes in its net assets and its cash flows for the years then ended in accordance with accounting
principles generally accepted in the United States of America.

Report on Summarized Comparative Information

       We have previously audited the Administrative Offices' financial statements for the year
ended June 30, 2018, and we expressed an unmodified audit opinion on those audited financial
statements in our report dated November 27, 2018. In our opinion, the summarized comparative
information presented on the statement of functional expenses for the year ended June 30, 2018 is
consistent, in all material respects, with the financial statements from which it has been derived.

Other Matter - Supplementary Information

        Our audits were conducted for the purpose of forming an opinion on the financial statements
as a whole. The supplemental schedules (Schedules 1 through 3) are presented for purposes of
additional analysis and are not a required part of the financial statements of the Administrative
Offices. The Schedule of Compensation, Benefits, and Other Payments to Agency Head or Chief
Executive Officer (Schedule 4) is presented for purposes of additional analysis and is required by
Louisiana Revised Statute 24:513(A)(3) and is not a required part of the financial statements. The
accompanying schedule of expenditures of federal awards, as required by Title 2 U.S. Code of
Federal Regulations Part 200, Uniform Administrative Requirements Cost Principles, and Audit
Reqinrements for Federal Awards, is presented for purposes of additional analysis and is not a
required part of the financial statements. Such infonnation is the responsibility of management and
was derived from and relates directly to the underlying accounting and other records used to prepare
the financial statements. The information has been subjected to the auditing procedures applied in
the audit of the financial statements and certain additional procedures, including comparing and
reconciling such information directly to the underlying accounting and other records used to prepare
the financial statements or to the financial statements themselves, and other additional procedures
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in accordance with auditing standards generally aeeepted in the United States of Ameriea. In our
opinion, the information is fairly stated, in all material respeets, in relation to the fmaneial
statements as a whole.

Other Reporting Required by Government Auditing Standards

       In aeeordanee with Government Auditing Standards, we have also issued our report dated
November 22, 2019 on our eonsideration of the Administrative Offiees' intemal eontrol over
fmaneial reporting and on our tests of its eomplianee with eertain provisions of laws, regulations,
eontraets and grant agreements, and other matters. The purpose of that report is solely to deseribe
the seope of our testing of intemal eontrol over fmaneial reporting and eomplianee and the results
of that testing, and not to provide an opinion on the effeetiveness of the Administrative Offiees'
intemal eontrol over flnaneial reporting or on eomplianee. That report is an integral part of an audit
performed in aeeordanee with Government Auditing Standards in eonsidering the Administrative
Offiees' intemal eontrol over finaneial reporting and eomplianee.




                                                 Certified Publie Aeeountants.

New Orleans, Louisiana,
November 22, 2019.
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                        STATEMENTS OF FINANCIAL POSITION

               Roman Catholic Church of the Archdiocese of New Orleans
                               Administrative Offices

                                        June 30, 2019 and 2018




                                              ASSETS

                                                                       2019           2018

Cash and cash equivalents                                        S     5,245,069   $ 11,008,675
Grants receivable - FEMA                                                 334,496        480,438
Accounts receivable from affiliates and other - less allowance
   for doubtful receivables of $500,000 and SO
       for 2019 and 2018, respectively                                10,205,646      9,176,462
Reinsurance receivable                                                 3,432,853              -
Prepaid expenses                                                       1,557,690      1,461,990
Loans receivable from affiliates - less allowance
   for doubtful receivables of $5,132,099 and $11,459,388
       for 2019 and 2018, respectively                                68,520,032     62,105,949
Investments                                                          305,529,667    293,242,690
Land, buildings, and equipment - less accumulated
   depreciation of $43,120,203 and $41,593,074
       for 2019 and 2018, respectively                                71,521,278     73,453,685
Other assets                                                             122,000        122,000
Beneficial interest in charitable remainder trust                        428,722        580,247




         Total assets                                            $466,897,453      $451,632,136

   See notes to tinancial statements.
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                                                                                  Exhibit A




                                LIABILITIES AND NET ASSETS

                                                                  2019              2018

Liabilities
   Accounts payable                                         S     3,073,114   S     3,092,273
   Accrued expenses and other                                     3,252,159         3,658,079
   Accrued liability for self-insured claims                     11,231,455         9,515,487
   Deposits payable to affiliates                               153,888,042       153,572,072
   Funds held for affiliates                                    133,388,826       121,528,467
   Bonds payable, net                                            40,045,535        41,578,676
   Accrued pension liability                                     43,232,295        43,330,928

         Total liabilities                                      388,111,426       376,275,982

Commitments and Contingencies (Note 16)                                   -                   -

Net Assets
  Without donor restrictions:
         Undesignated                                            50,217,384        46,328,051
         Board designated                                           800,000           875,000
  With donor restrictions                                        27,768,643        28,153,103

         Total net assets                                        78,786,027        75,356,154

         Total liabilities and net assets                   8 466,897,453     5451,632,136
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                                                                                                               Exhibit B-1

                                           STATEMENT OF AC TIVITIES

                           Roman Catholic Church of the Archdiocese of New Orleans
                                           Administrative Offices

                                                For the year ended June 30, 2019
                                               (with comparative totals for 2018)




                                                                                 2019                             2018
                                                            Net Assets        Net Assets                       Comparative
                                                           Without Donor      With Donor                         Totals
                                                            Restrictions      Restrictions        Totals          Only

Revenue, Gains, and Other Support
   Assessments to affiliated entities for:
      Archdiocesan support                                  $ 10,269,321     S                  810,269,321    S 9.921.009
      Priest health insurance and retirement                   2,663,549                   -      2,663,549      2.750.208
      Insurance                                               34,203,196                   -     34,203,196     16.680.683

          Total assessments                                  47,136,066                    -     47,136,066     29,351,900

   Fee revenue                                                6,612,181                           6,612,181      5.303.633
   Contributions and grants                                   2,978,152             405,940       3,384,092      3.294.504
   Rents and royalties                                          769,899                   -         769,899        774.012
   Spending distribution - investment income                  3,245,368             996.475       4.241,843      4,335,690
   Interest income - Deposit and Loan Fund                    2,124,317                   -       2.124,317      1,986,621
   Insurance rebate                                           2,500,000                   -       2.500,000        875,000
   Land damage settlements                                    1,996,634                   -       1,996,634      3.991.023
   Gain on sale of assets                                     2,644,980                   -       2,644,980            286
   Changes in value of charitable remainder trust                     -             448.475         448,475         92.810
   Miscellaneous                                                642,113                   -         642.113        403,494
   Net assets released from restrictions -
       satisfaction of program restrictions                   2,116,126          (2,116,126)               -           -

          Total revenue, gains, and other support            72,765,836             (265,236)    72,500,600     50.408,973

Expenses
  Program services:
     Ministries                                              21,859,838                    -     21,859.838     23,924,197
     Supporting services to parishes
         and other related agencies                          38,129,424                    -     38,129,424     27.431.289
  Management and general                                     12,618,776                    -     12,618,776     12.386.503
  Development and fundraismg                                    762,522                    -        762,522        845.325

          Total expenses                                     73,370,560                    .     73,370,560     64,587,314
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                                                                                                       Exhibit B-1
                                                                                                       (Continued)




                                                                            2019                          201S
                                                          Net Assets     Net Assets                    Comparative
                                                         Without Donor   With Donor                      Totals
                                                          Restrictions   Restrictions     Totals          Only

Loss From Operations                                         (604,724)      (265,236)      (869,960)   (14,178,341)

Non-Operating Revenues (Expenses)
  Investment income - net                                   5,955,044        877,251      6,832,295      7.526,759
     Less - spending distribution                          (3,245,368)      (996,475)    (4^241,843)    (4.335,690)

   Investment income - net of spending distribution         2,709,676       (119,224)     2,590.452      3,191,069
   Grants and donations related to hurricanes               3,280,060                     3,280.060      4,060,978
   Distributions of grants and donations to affiliates     (3,280,060)                   (3,280,060)    (4,060,978)

          Total non-operating revenues - net                2,709,676       (119,224)     2,590,452      3.191,069

Excess (Deficieucy) of Revenue, Gains, and
   Other Support Over Expenses                              2,104,952       (384,460)     1,720,492    (10,987,272)

Additional Minimum Pension Liability Adjustment             1,709,381                     1,709,381      2.511.016

Increase (Decrease) in Net Assets                           3,814,333       (384,460)     3,429,873     (8,476,256)

Net Assets
   Beginning of year                                       47,203,051     28,153,103     75.356,154     83,832,410

   End of year                                           $51,017,384     527,768,643    $78,786,027    $75,356,154



   See notes to tinancial statements.
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                                                                                          Exhibit B-2

                                   STATEIVIENT OF ACTIVITIES

                    Roman Catholic Church of the Archdiocese of New Orleans
                                    Administrative Offices

                                      For the year ended June 30, 2018




                                                                              20i:
                                                            Net Assets     Net Assets
                                                           Without Donor   With Donor
                                                            Restrictions   Restrictions     Totals

Revenue, Gains, and Other Support
  Assessments to affiliated entities tor:
     Archdiocesan support                                   S 9,9213                      S 9,921,i
     Priest health insurance and retirement                   2,750,208                     2,750,208
     Insurance                                               16,680,683                    16,680,683

             Total assessments                               29.351.900                    29.351.900

   Fee revenue                                                 5,303,633                    5,303,633
   Contributions and grants                                    1,325,937     1,968,567      3,294,504
   Rents and royalties                                           774,012                      774,012
   Spending distribution - investment income                   3,292,000     1.043.690      4,335,690
   Interest income - Deposit and Loan Fund                     1,986,621                    1,986,621
   Insurance rebate                                              875,000                      875,000
   Land damage settlements                                     3,991,023                    3,991,023
   Gain on sale of assets                                            286                          286
   Changes in value of charitable remainder trust                               92,810         92,810
   Miscellaneous                                                403,494                       403.494
   Net assets released from restrictions -
      satisfaction of program restrictions                     2,883,588    (2,883,588)

             Total revenue, gains, and other support         50,187,494        221,479     50,408,973

Expenses
  Program services:
     Ministries                                              23,924,197                    23,924,197
     Supporting services to parishes and
         other related agencies                              27,431,289                    27,431,289
  Management and general                                     12,386,503                    12,386,503
  Development and hindraising                                   845,325                       845,325

             Total expenses                                  64.587.314                    64.587.314
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                                                                                            Exhibit B-2
                                                                                            (Continued)




                                                                                2018
                                                              Net Assets     Net Assets
                                                             Without Donor   With Donor
                                                              Restrictions   Restrictions     Totals

Income (Loss) From Operations                                 (14,399,820)       221,479    (14,178,341)

Non-Operating Revenues (Expenses)
  Investment income - net                                       5,577,318      1,949,441      7,526,759
     Less - spending distribution                              (3,292,000)    (1,043,690)    (4,335,690)

   Investment income - net of spending distribution             2,285,318        905,751      3,191,069
   Grants and donations related to hurricanes                   4,060,978                     4,060,978
   Distributions of grants and donations to affiliates         (4,060,978)                   (4,060,978)

             Total non-operating revenues (expenses) - net      2,285,318        905,751      3,191,069

Excess (Deficiency) of Revenue, Gains, and
  Other Support Over Expenses                                 (12,114,502)     1,127,230    (10,987,272)

Additional Minimum Pension Liability Adjustment                 2,511,016               -     2,511,016

Increase (Decrease) in Net Assets                              (9,603,486)     1,127,230     (8,476,256)

Net Assets
  Beginning of year, as restated                               56,806,537     27,025,873     83,832,410

   End of year                                               $47,203,051     $28,153,103    $75,356,154



   See notes to financial statements.
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                                                                                                                                              Exhibit C

                                                   STATEMENT OF FUNCTIONAL EXPENSES

                                             Roman Catholic Church of the Archdiocese of New Orleans
                                                             Administrative Offices

                                                       For the years ended June 30, 2019 and 2018



                                             Program Expenses                Total         Management      Development         2019         2018
                                                       Supporting           Program           and              and             Total     Comparative
                                          Ministries    Services            Expenses        General        Fundraisine       Expenses    Totals Onlv
Expenses
  Advertising and promotion                   89,142   S     2i:        S        307,948   $      25,829                 i   333,777     ;      445,266
  Bad debt                                                                                     2,348,564                   2,348,564            658,585
  Contractual services                       506,214        2,006,990        2,513,204           513,902      21,307       3,048,413          1,094,430
  Depreciation                               418,851        1,310,343        1,729,194           396,226      44.551       2,169,971          2,170,032
  Grants and contributions                 2.952J97                          2,952,797                                     2,952,797          4,672,962
  Insurance                                                30,560.058       30,560,058         1,608,424                  32,168,482         23,915,375
  Interest                                                                                     3,611,773                   3,611,773          4,153,410
  Ministry services                        2,017,202                         2,017,202                31                   2,017,233          1,812,204
  Miscellaneous                              212,635          14,752           227,387            93,030                     320,417            249,232
  Occupancy                                  333,369         143,260           476,629           144,366      68,190         689,185            740,181
  OIEce expenses                             259,812         447,142           706,954           786,883       1,588       1,495,425          1,404,260
  Payroll tax and
     employee benefits                     2,634,823          397,157        3,031,980           295,620      14,717         3,342,317        3,525,150
  Priest housing and living                4,132,733          660,976        4,793,709            59,457       2,383         4,855,549        5,089,337
  Repairs and maintenance                    304,454          425,105          729,559           867,914      36,987         1,634,460        1,922,214
  Salaries and wages                       5,092,968        1,863,865        6,956,833         1,437,449     571,205         8,965.487        9,054,481
  Seminarian assistance                    1,891,511                         1,891,511                                       1,891,511        2,090,322
  Special events                             217,271           8,264           225,535           43,744          213           269,492          373,882
  Staff development                          588,364          13,680           602,044           90,489                        692,533          636,495
  Subscriptions and dues                      55,227          42,821                            252,241          140           350,429          324,515
  Travel, meals, and entertaimnent           152,465          16.205             168.670         42,834        1.241           212.745          254,981
         Totals                          $21,859,838   $38,129,424      859,989,262        $12,618,776      $762,522     873,370,560     ; 64,587,314

   See notes to financial statements.
                                                                            10
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                                                                                    Exhibit D

                            STATEMENTS OF CASH FLOWS

              Roman Catholic Church of the Archdiocese of New Orleans
                              Administrative Offices

                           For the years ended June 30, 2019 and 2018




                                                                        2019          2018

Cash Flows From Operating Activities
  Increase (deerease) in net assets                               $ 3,429,873      S (8,476,256)
  Adjustments to reconcile increase (decrease)
     in net assets to net cash provided by (used in)
     operating activities:
         Depreciation                                               2,169,971        2,170,032
         Amortization of bond premium and
            debt issuance costs                                      (213,141)        (114,297)
         Asset retirement obligation accretion                         52,424           49,928
         Provision for doubtful loans receivables                   1,848,564          658,585
         Provision for doubtful accounts                              500,000                   -
         Net gain from sale of assets                              (2,644,980)            (286)
         Donation of land                                                      -       138,517
         Unrealized gain on investments                            (3,097,486)      (2,950,106)
         Decrease in accrued pension liability                        (98,633)        (671,861)
         Change in beneficial interest in charitable
            remainder trust                                         (448,475)          (92,810)
         Contributions restricted for long-term investments           (1,058)             (787)
         Changes in operating assets and liabilities:
            (Increase) decrease m grants, accounts and
                other receivables, net                             (1,383,242)      (5,237,207)
             Increase in reinsurance receivable                    (3,432,853)                  -
             Decrease (increase) in prepaid expenses                  (95,700)         335,707
            Increase in accounts payable,
                accrued expenses, and other                         1,238,465       10,467,070

                   Net cash (used in) provided by
                      operating activities                         (2,176,271)      (3,723,771)




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                                                                                Exhibit D
                                                                               (Continued)




                                                                   2019            2018

Cash Flows From Investing Activities
  Collection on loans to affiliates                             14,067,787      14,325,091
  Loans made to affiliates                                     (22,330,434)    (21,784,150)
  Increase in investments - net                                 (9,189,491)     (4,024,526)
  Proceeds from sale of land, buildings, and equipment           2,876,097             286
  Purchases of land, buildings, and equipment                     (468,681)       (726,335)
  Distribution from beneficial interest in charitable
     remainder trust                                               600,000                 -


                    Net cash used in
                       investing activities                    (14,444,722)    (12,209,634)

Cash Flows From Financing Activities
  Increase in deposits payable to affiliates - net                 315,970        3,698,622
  Bond principal payments                                       (1,320,000)      (1,255,000)
  Increase in funds held for affiliates                         11,860,359       17,598,501
  Proceeds from contributions permanent in nature                    1,058              787

                    Net cash provided by
                       financing activities                      10,857,387      20,042,910

Net Increase (Decrease) In Cash and Cash Equivalents            (5,763,606)       4,109,505

Cash and Cash Equivalents
  Beginning of year                                              11,008,675       6,899,170

   End of year                                                 $ 5,245,069     811,008,675


Supplemental Disclosure of Cash Flow Information
  Cash paid during the year for interest                       $ 2,921,195     $ 1,481,820



   See notes to financial statements.




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                                                                                           Exhibit E
                        NOTES TO FINANCIAL STATEMENTS

                Roman Catholic Church of the Archdiocese of New Orleans
                                Administrative Offices

                                      June 30, 2019 and 2018




Notel- ORGANIZATION

         The accompanying financial statements of the Roman Catholic Church of the Archdiocese
         of New Orleans Administrative Offices (the "Administrative Offices") include the assets,
         liabilities, net assets, and the financial activities of all administrative and program offices
         and departments maintained and directed by the administrative offices of the Roman
         Catholic Church of the Archdiocese of New Orleans, a Louisiana corporation (the
         "Archdiocese"), and also include certain assets which are owned by the Archdiocese and
         are used in the operations of certain non-combined affiliated entities. The purpose of the
         Administrative Offices is to provide support and services to the various church parishes
         and other related agencies within the Archdiocese. Operating support is derived primarily
         from assessments received from affiliated entities, contributions and bequests, interest on
         loans to church parishes and other related organizations, and investment spending
         distributions. The activities of the Administrative Offices also include;

            •    the operation of the Deposit and Loan Fund, which provides savings and loan
                 services to the parishes and other related organizations;
            •    the administration of centralized property, casualty, and health insurance
                 programs;
            •    the investment of endowment funds;
            •    the administration and funding of health care, auto insurance, and retirement costs
                 for priests of the Archdiocese; and
            •    certain administrative and operating services provided to parishes, schools, and
                 other related organizations, such as information technology, accounting, legal,
                 communications, building management, and other such supporting services.

         The activities of church parishes, schools, cemeteries, seminaries, nursing homes,
         charitable institutions, and other distinct operating entities, including a captive insurance
         company (see Note 16), which operate within the Archdiocese ("non-combined affiliated
         entities") have not been included in the accompanying financial statements.




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                                                                                         Exhibit E
                                                                                        (Continued)

Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES

            a. Basis of Accounting

               The financial statements of the Administrative Offices have been prepared in
               accordance with accounting principles generally accepted in the United States of
               America.

            b. Use of Estimates

               The preparation of financial statements in conformity with accounting principles
               generally accepted in the United States of America requires management to make
               estimates and assumptions that affect certain reported amounts of assets and
               liabilities, and disclosure of contingent assets and liabilities, as of the date of the
               financial statements, and the reported amounts of revenues and expenses during
               the reporting period. Of particular significance to the Administrative Offices'
               financial statements are estimates related to pension assumptions, the allowance
               for doubtful loans receivable, and the accrued liability for self-insured claims.
               Actual results could differ from those estimates.

            c. Cash and Cash Equivalents

               For the purpose of the statements of cash flows, cash equivalents are defined to
               include highly liquid short-term investments, including money market account
               deposits, commercial paper investments, and certificates of deposit purchased with
               an original maturity of 90 days or less, unless held in the investment portfolios.

            d. Accounts Receivable

               Accounts receivable consist primarily of noninterest-bearing amounts due from
               church parishes and diocesan-related organization for support and services provided
               by the Administrative Offices. An allowance for uncollectible receivables is
               determined based on collection history and economic factors. Accounts receivable
               are written off when deemed by management to be uncollectible. Bad debt expense
               related to accounts receivable was 5500,000 for the year ended June 30,2019. There
               was no bad debt expense related to accounts receivable for the year ended June 30,
               2018.




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                                                                                       Exhibit E
                                                                                      (Continued)

Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            e. Loans Receivable

               Loans receivable primarily represent uncollateralized loans made to church
               parishes, schools, and other diocesan-related organizations as a result of a
               cooperative lending program established by the Administrative Offices for the
               mutual benefit of participants. The determination of the terms of repayment and
               interest charges is made by the Administrative Offices on an individual case basis.
               Loans are reported at amortized cost. An allowance is recorded for loans deemed
               to be uncollectible. Since most of the loans receivable consist of large amounts
               due from a limited number of related organizations, the determination of the
               collectability of these receivables is made by management on an individual case
               basis, using prior collection histories and current economic factors as judgment
               criteria.

            f. Promises to Give

               Unconditional promises to give are recognized as revenue or gains and as assets
               in the period in which the promise is made. Unconditional promises to give that
               are expected to be collected within one year are recorded at their net realizable
               value. Unconditional promises to give expected to be collected in future years are
               recorded at the present value of their estimated future cash flows. The discounts
               on those amounts are computed using risk-free interest rates applicable to the years
               in which the promises are received. Amortization of the discounts is included in
               contribution revenue in subsequent years. Conditional promises to give are not
               included as support until the conditions are substantially met. Allowances for
               uncollectible promises to give, if any, are based on management's evaluation of
               the collectability of such amounts. Promises to give are written off when deemed
               uncollectible. As of June 30, 2019 and 2018, there were no promises to give.

            g. Investments

               Investments are valued at their fair values in the statements of financial position.
               Fair value is the price that would be received to sell an asset or paid to transfer a
               liability in an orderly transaction between market participants at the measurement
               date. See Note 17 for a discussion of fair value measurements. Purchases and
               sales of securities are recorded on a trade-date basis. Unrealized gains and losses
               on investments recorded at fair value are included in the statements of activities as
               increases or decreases in net assets without donor restrictions, unless their use is
               restricted by explicit donor stipulations or by law.




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                                                                                       Exhibit E
                                                                                      (Continued)

Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            g. Investments (Continued)

               Investments are managed to achieve the maximum long-temi total return. A
               spending rate approach is used to allocate investment return for operating purposes
               each year, with the remainder of investment income reinvested and reported as non-
               operating income. A spending rate of approximately 5% of the market value of
               the Administrative Offices' pooled investments (excluding funds held for others)
               as of the beginning of each fiscal year was used during each of the fiscal years
               ended June 30, 2019 and 2018.

               Investments consist of the following:
                   •   Investments over which the Archdiocese retains control and may use at its
                       own discretion subject to donor restrictions, if any;
                   •   Funds held for others, which funds are owned by affiliated entities that are
                       held in a custodial capacity and invested in a centralized investment pool of
                       assets.

            h. Land, Buildings, and Equipment

               Land, buildings, and equipment are recorded at cost or, when donated, at fair value
               on the date of the donation. Additions and major improvements are capitalized,
               while expenditures for maintenance and repairs are expensed as incurred.

               Depreciation on buildings, improvements, and equipment is calculated using the
               straisht-lme method over the estimated useful lives, as follows:

                           Furniture and fixtures                           5 years
                           Transportation equipment                         5 years
                           Buildings and improvements                      40 years




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                                                                                       Exhibit E
                                                                                      (Continued)

Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            i. Impairment of Long-Lived Assets

               The Administrative Offices reviews its long-lived assets, consisting of buildings
               and equipment, for impairment and detennines whether an event or change in facts
               and circumstances indicates that their carrying amount may not be recoverable.
               The Administrative Offices determines recoverability of the assets by comparing
               the carrying value of the asset to the net future undiscounted cash flows that the
               asset is expected to generate or to fair value. The impairment recognized is the
               amount by which the carrying amount exceeds the fair value of the asset. During
               the years ended June 30, 2019 and 2018, no asset impairments were recorded.

            j. Historical Treasures

               Included in other assets is a donation of historical documents (Garrison St. Lazarus)
               that does not meet the definition of a collection. This asset was recorded at fair
               value at the time of donation.

            k. Deposits Payable to Affiliates

               Entities affiliated with the Archdiocese are encouraged to deposit funds not
               required for short-tenn operating needs with the Administrative Offices. Such
               deposits are used to fund loans and make other investments. Market rates of
               interest are paid on such deposits. Such interest rates are adjusted annually based
               on changes in the 90-day U.S. Treasury bill rate.

            1. Funds Held for Affiliates

               The Administrative Offices acts as a custodian for funds owned by affiliated
               entities to provide centralized investment of pooled assets. Earnings on these
               investments are allocated monthly.

            m. Net Assets

               Net assets, revenues, gains, and losses are classified on the existence or absence
               of donor or grantor restrictions. Accordingly, net assets and changes therein are
               classified and reported as follows;

                   Net Assets without Donor Restrictions - Net assets available for use in
                   general operations and not subject to donor or certain grantor restrictions.




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                                                                                        Exhibit E
                                                                                       (Continued)

Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            m. Net Assets (Continued)

                   Net Assets with Donor Restrictions - Net assets subject to donor- or certain
                   grantor-imposed restrictions. Some restrictions are temporary in nature,
                   limiting use of the net assets to later periods of time or to specific purposes.
                   Other net assets must be maintained in perpetuity due to donor-imposed
                   restrictions that will neither expire with the passage of time nor be removed by
                   meeting certain requirements.            The Administrative Offices reports
                   contributions and investment gains and income with donor-imposed
                   restrictions as increases m net assets without donor restrictions if the
                   restrictions expire within the reporting period in which the revenue is
                   recognized. All other donor-restricted contributions are reported as increases
                   in net assets with donor restrictions, depending on the nature of restriction. Net
                   assets with donor-imposed restrictions are reclassified to net assets without
                   donor restrictions and reported as net assets released from restriction in the
                   statements of activities when the restrictions expire due to the passage of time
                   or fulfillment of its purpose. Gifts of long-lived assets and long-lived assets
                   acquired with gifts of cash restricted for those acquisitions are reported as with
                   donor restrictions or without donor restrictions depending on whether there is
                   an explicit, donor-imposed time requirement as to how long the assets must be
                   maintained. Long-lived assets are reported as with donor restrictions only if
                   the Administrative Offices must maintain the assets in perpetuity or if the
                   donor explicitly restricted the proceeds from any fiiture disposition of the
                   assets to reinvestment in lona-lived assets.

            n. Statements of Activities

               Transactions deemed to be ongoing, major, or central to the operations of the
               Administrative Offices are reported as operating revenues and expenses.
               Peripheral or incidental transactions, when material, are reported as non-operating
               gams or losses, as are investment returns net of the predetermined spending rate.

               Grants and donations received and distributed to affiliates and expenses incurred
               relating to Hurricane Katrina (see Note 3) are reported as non-operating activities.

               Changes in net assets without donor restrictions that are excluded from excess of
               revenues, gains, and other support over expenses without donor restrictions
               include changes in the additional minimum pension liability (see Note 9).




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                                                                                        Exhibit E
                                                                                       (Continued)

Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            o. Revenue Recognition

               Revenue is recognized when earned. Assessment revenue received from affiliated
               entities for Archdiocesan support, priests' health and retirement benefits, and
               insurance is recognized when the related services are performed or expenditures
               are incurred. Contributions are recognized when cash, securities, or other assets,
               an unconditional promise to give, or notification of a beneficial interest is received.
               Conditional promises to give are not recognized until the conditions on which they
               depend have been substantially met.

            p. Advertising Costs

               Advertising costs are expensed as incurred and approximated S334,000 and
               $445,000 for the years ended June 30, 2019 and 2018, respectively.

            q. Functional Allocation of Expenses

               The costs of program and supporting services activities have been summarized on
               a functional basis in the statements of activities. The statements of flinctional
               expenses present the natural classification detail of expense by
               function. Accordingly, certain costs have been allocated among the program and
               supporting services benefitted in a consistent manner.

               Program services include activities that result in services being distributed to
               beneficiaries and affiliated oruanizations within the Archdiocese that assist to
               fulfil the purpose and mission of the church. Program services in the statement of
               functional expenses are divided into two categories - Ministry and Supporting
               Services. Ministry includes programs directly run by the Administrative Offices,
               such as priest services and support, youth and young adult ministry, the retreat
               center, vocation office, counseling services, and other ministries. Supporting
               Services include management and general-t3^e services that are provided to
               affiliated entities within the Archdiocese to support them and enable them to
               effectively and efficiently perform their programs and missions.

               Management and General and Development and Fundraising are supporting
               activities of the Administrative Offices.

               Expenses are initially recorded to a specific department and natural classification.
               Allocations are then made to distribute department costs between the various
               functions on the basis of estimates of time and effort in each department.
               Occupancy expenses are allocated on the basis of square footage.



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                                                                                      Exhibit E
                                                                                     (Continued)

Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            r. Income Taxes

               The Archdiocese operates as a non-profit corporation pursuant to Section
               501(c)(3) of the Internal Revenue Code. As such, the Administrative Offices is
               subject to income tax only on unrelated business taxable income, resulting from
               certain investment holdings and from qualified transportation fringe benefits
               provided to employees. The Administrative Offices had approximately S8,000 of
               unrelated business income tax expense for the year ended June 30, 2019. It had
               no unrelated business income tax expense for the year ended June 30, 2018.

               Accounting standards provide detailed guidance for financial              statement
               recognition, measurement, and disclosure of uncertain tax positions recognized in
               an entity's financial statements. It requires an entity to recognize the financial
               statement impact of a tax position when it is more likely than not that the position
               will not be sustained on examination. As of June 30, 2019 and 2018, management
               of the Administrative Offices believes that it has no uncertain tax positions that
               qualify for either recognition or disclosure in the financial statements.

            s. Amortization of Bond Issue Costs

               Bond issue costs are amortized over the tenn of the related bond issue using a
               method that approximates the interest method. Amortization of such costs are
               included in interest expense in the statements of activities.

            t. Recently Issued Accounting Standards

               Revenue from Contracts with Customers

               In May 2014, the Financial Accounting Standards Board (FASB) issued
               Accounting Standards Update (ASU) 2014-09, Revenue from Contracts with
               Customers (Topic 606), which provides a single comprehensive model for entities
               to use in accounting for revenue from contracts with customers and supersedes
               most current revenue recognition models. Subsequent to the issuance of ASU
               2014-09, the FASB issued several additional ASUs which amended and clarified
               the guidance and deferred the effective date. This update creates a five-step model




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                                                                                       Exhibit E
                                                                                      (Continued)

Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            t. Recently Issued Accounting Standards (Continued)

               Revenue from Contracts with Customers (Continued)

               that requires entities to exercise judgement when considering the terms of a
               contract which includes i) identifying the contract(s) with the customer, ii)
               identifying the separate perfonnance obligations in the contract, iii) determining
               the transaction price, iv) allocating the transaction price to separate performance
               obligations, and v) recognizing revenue as each performance obligation is
               satisfied. The ASU became effective for the Administrative Offices on July 1,
               2018. Management has adopted the provisions of ASU 2014-09 and has
               retrospectively applied this standard to the financial statements. The adoption of
               this accountmg standard did not have a significant impact on the financial
               statements.

               Presentation of Financial Statements for Not-for-Profit Entities

               In August 2016, the FASB issued ASU 2016-14, Not-for-Profit Entities (Topic
               958): Presentation of Financial Statements of Not-for-Proflt Entities, which
               changes the current guidance for assets classification, governing board
               designations, investment return, underwater endowment funds, expenses, liquidity
               and presentation of operating cash flows. ASU 2016-14 reduces the required
               number of classes of net assets from three to two: net assets with donor restrictions
               and net assets without donor restrictions. ASU 2016-14 also requires not-for-profit
               entities to provide enhanced disclosures about the amounts and purposes of
               governing board designations and appropriations. It requires not-for-profits to
               report investment return net of external and direct internal investment expenses.
               The requirement to disclose those netted expenses is eliminated. In the absence
               of explicit donor restrictions, ASU 2016-14 eliminates the option to use the over­
               time approach and requires not-for-profit entities to use the placed-in-service
               approach to account for capital gifts. ASU 2016-14 requires expenses to be
               reported by nature, in addition to by function, and the inclusion of an analysis of
               expenses by both nature and function. The methods used by not-for-profit entities
               to allocate costs among program and support fiinctions are required to be
               disclosed. ASU 2016-14 requires not-for-profit entities to provide both qualitative
               and quantitative inforaiation on management of liquid available resources and the
               ability to cover short-tenn cash needs within one year of the balance sheet date.
               Finally, current standards allow not-for-profit entities to decide whether to present




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                                                                                      Exhibit E
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Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            t. Recently Issued Accounting Standards (Continued)

               Presentation of Financial Statements for Not-for-ProfIt Entities (Continued)

               operating cash flows using either the direct method or the indirect method. ASU
               2016-14 eliminates the requirement to present or disclose the indirect method of
               reconciliation if the entity decides to use the direct method. Management has
               adopted the provisions of ASU 2016-14 as of July 1, 2018 and has retrospectively
               applied this standard to the financial statements. The adoption of this standard
               resulted in presentation changes and additional disclosures and had no impact on
               previously-reported net assets.

               Clarifying the Scope and the Accounting Guidance for Contributions
               Received and Contributions Made

               In June 2018, the FASB issued ASU 2018-08, Not-for-Proflt Entities (Topic 958):
               Clarifying the Scope and the Accounting Guidancefor Contributions Received and
               Contributions Made. This ASU clarities guidance on how entities should
               detemiine whether to account for a transfer of assets as an exchange transaction or
               as a contribution and how to determine whether a contribution is conditional. This
               ASU is effective for not-for-profit entities that have issued or are conduit bond
               obligors for securities that are traded, listed or quoted on an exchange or an over-
               the-counter market, for interim and annual periods beginning after June 15, 2018
               for resource recipients, and for interim and annual periods beginning after
               December 15, 2018 for resource providers. The Administrative Offices adopted
               this ASU on a modified prospective basis as of July 1, 2018. Adoption of this
               accounting standard did not significantly change the financial statements for the
               year ended June 30,2019, in comparison with the financial statements for the prior
               year.

               Recognition and Measurement of Financial Assets and Liabilities

               In January 2016, FASB issued ASU 2016-01, Financial Instruments - Overall
               (Topic 825-10): Recognition and Measuretnent of Financial Assets and Liabilities.
               This ASU makes changes to the presentation and disclosure requirements for
               certain financial assets and liabilities. This ASU is effective for fiscal years
               beginning after December 15, 2018 and for interim periods within fiscal years
               beginning after December 15, 2019. In February 2018, FASB issued ASU 2018-
               03, Technical Corrections and Improvements to Financial Instruments - Overall
               (Topic 825-10): Recognition and Measurement of Financial Assets and Liabilities,


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                                                                                     Exhibit E
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Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            t. Recently Issued Accounting Standards (Continued)

               Recognition and Measurement of Financial Assets and Liabilities (Continued)

               which clarifies certain aspects of the guidance issued in, and shares the effective
               date of, ASU 2016-01. Management is evaluating the impact of this new standard
               on the financial statements.

               Statement of Cash Flows

               In August 2016, FASB issued ASU 2016-15, Statement of Cash Flows (Topic
               230): Classification of Certain Cash Receipts and Cash Payments (a consensus of
               the Emerging Issues Task Force), and in November 2016, FASB issued ASU
               2016-18, Statement of Cash Flows (Topic 230): Restricted Cash. ASU 2016-15
               addresses eight specific cash flow issues with the objective of reducing certain
               diversity in reporting practices. ASU 2016-18 requires that a statement of cash
               flows include restricted cash and cash equivalents with cash and cash equivalents
               when reconciling beginning-of-period and end-of-period total amounts. These
               ASUs are effective for fiscal years beginning after December 15, 2018 and for
               interim periods within fiscal years beginning after December 15, 2019, with early
               adoption pemiitted. Management is evaluating the impact of this new standard on
               the financial statements.

               Improving the Presentation of Net Periodic Pension Cost and Net Periodic
               Postretirement Benefit Cost

               In March 2017, the FASB issued ASU 2017-07, Compensation - Retirement
               Benefits (Topic 715): Improving the Presentation of Net Periodic Pension Cost
               and Net Periodic Postretirement Benefit Cost. This ASU changes the statement
               of activities presentation of the components of net periodic benefit cost of an
               entity's sponsored defined benefit pension and other post-retirement plans. The
               ASU is effective for fiscal years beginning after December 15, 2018 and for
               interim periods in fiscal years beginning after December 15, 2019, with early
               adoption pemiitted. Management is evaluating the impact of this new standard on
               the financial statements.




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                                                                                         Exhibit E
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Note 2 - SITMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Continued)

            t. Recently Issued Accounting Standards (Continued)

               Leases

               In February 2016, the FASB issued ASU 2016-02, Leases (Topic 842). ASU 2016-
               02 requires that a lease liability and related right-of-use-asset representing the
               lessee's right to use or control the asset be recorded on the statement of financial
               position upon the commencement of all leases except for short-tenn leases. Leases
               will be classified as either finance leases or operating leases, which are
               substantially similar to the classification criteria for distinguishing between capital
               leases and operating leases in existing lease accounting guidance. As a result, the
               effect of the leases in the statement of activities and the statement of cash flows
               will be substantially unchanged from the existing lease accounting guidance. The
               ASU is effective for fiscal years beginning after December 15, 2018. Early
               adoption is permitted. Management is currently evaluating the full effect that the
               adoption of this standard will have on the financial statements.

            u. Summarized Comparative Information

               As pennitted by transition guidance for ASU 2016-14, the statement of functional
               expenses includes prior year summarized comparative infonnation by natural
               expense classification, but not by function. Such information does not include
               sufficient detail to otherwise constitute a presentation in accordance with GAAP.
               Accordingly, such infonnation should be read in conjunction with the
               Administrative Offices' financial statements for the year ended June 30, 2018,
               from which the summarized information was derived.

            V. Reclassifications

               Certain reclassifications of amounts previously reported have been made to the
               accompanying financial statements to maintain consistency between periods
               presented. The reclassifications had no impact on previously reported net assets.

            w. Subsequent Events

               Management evaluates events occurring subsequent to the date of the financial
               statements in determining the accounting for and disclosure of transactions and
               events that affect the financial statements. Subsequent events have been evaluated
               through November 22, 2019, the date the financial statements were issued.




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                                                                                      Exhibit E
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Note 3 - HURRICANE KATRINA AND RECOVERY

         The June 30, 2019 and 2018 financial statements reflect certain unusual items resulting
         from the effects of Hurricane Katrina on the operations of the Administrative Offices and
         certain non-combined affiliated entities. The 2019 and 2018 statements of activities
         reflect approximately $3.3 million and $4.1 million, respectively, of federal grant monies
         received and approximately $3.3 million and S4.1 million, respectively, of recovery-
         related expenses.

         Cumulatively, through June 30, 2019, the Administrative Offices has received
         approximately $286 million of federal grant monies related to Hurricane Katrina. Of this
         total, approximately $48 million was spent on non-combined affiliated entity capital
         projects which were recorded as part of land, buildings, and equipment. The remaining
         $238 million was distributed to other non-combined affiliated entities and was recorded
         on the books of those entities. As of June 30, 2019, net assets without donor restrictions
         includes expenditures of federal grant monies of approximately $40.8 million related to
         capital costs, net of accumulated depreciation. Remaining federal grant monies to be
         received as of June 30, 2019, total approximately $18 million, none of which have been
         accrued.

         The following table presents information related to Hurricane Katrina recovery for the
         years ended June 30, 2019 and 2018:

                                                                 2019                2018

               Unrestricted revenues:
                 Federal arant monies received               $ 3,280,060         $ 4,060,978

               Distributions - non-combined
                  affiliated entities:
                      Federal grant monies distributed
                          to afmiates                        $(3,280,060)        $(4,060,978)




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                                                                                     Exhibit E
                                                                                    (Continued)

Note 4- LOANS RECEIVABLE FROM AFFILIATES

         A summary of loans receivable from affiliates as of June 30,2019 and 2018, is as follows:

                                                                2019               2018

             Parishes                                       $43,473,696        $39,319,583
             FEMA projects                                    4,767,068          5,703,505
             Agencies                                        12,637,095          8,746,396
             Archdiocesan-sponsored schools                  12,085,313         14,054,026
             Other                                              688,959          5,741,827

                 Total loans                                 73,652,131         73,565,337

             Less allowance tor doubtful receivables          (5,132,099)      (11,459,388)

                 Total loans - net                          $68,520,032        $62,105,949

         The following summarizes activity in the allowance for doubtful receivables during the
         years ended June 30, 2019 and 2018.

                                                               2019               2018

                Beginning balance                          $11,459,388        $10,800,803
                Bad debt expense                              1,848,564           658,585
                Loans forgiven, previously reserved          (8,175,853)                  -

                Ending balance                             $ 5,132,099        $11,459,388

         As of June 30, 2019 and 2018, the allowance for doubtful receivables relates primarily to
         loans receivable from parishes.

         A summary of loans receivable from affiliates based on interest-accrued status as of June
         30, 2019 and 2018, is as follows:

                                                                2019              2018

              Balances on which interest is accrued         $66,455,654       $48,741,984
              Balances on which interest is not accrued       7,196,477        24,823,353

                  Totals                                    $73,652,131       $73,565,337




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Notes- INVESTMENTS

         The Administrative Offices' investments are held in pooled assets and separately invested
         portfolios. Pooled assets represent fimds that are invested in a commingled portfolio of
         investments, as opposed to the separately invested assets, which have segregated
         investments. Investments are recorded at fair value as of June 30, 2019 and 2018, and
         consist of the following;

                                                                 2019               2018

           Pooled asset portfolio:
              Cash and cash equivalents                      $ 10,078,926       S 15,607,864
              U.S. government and agency obligations           21,043,394         15,060,432
              Government agency mortgage obligations              500,762                    -
              Corporate and foreign obligations                20,279,855         14,495,603
              Collateralized mortgage obligations                 430,820            267,047
              Asset-backed securities                           4,653,458          5,108,319
              Corporate stocks                                124,707,087        119,618,926
              Mutual funds                                      8,269,191          7,634,807
              Exchange traded funds                               406,688            352,886
              Limited partnerships                              9,971,673         10,786,065
              Hedge feeder fiind                                4,750,062          4,598,521
              Fund of funds                                     4,091,721          4,371,236
              Segregated portfolio companies                   11,564,196         11,591,337

                  Total pooled asset portfolio                220,747,833        209,493,043

           Separately invested portfolio:
              Cash and cash equi\ulents                         16,963,703         8,264,772
              Brokered certificates of deposit                     499,440           494,050
              Government and agency obligations                 19,663,979        18,742,772
              Corporate obligations                             30,506,396        33,713,531
              Investment in Catholic Umbrella Pool                 515,700           631,522
              Municipal obligations                             16,632,616        21,895,489
              Collateralized mortgage obligations                         -            7,511

                  Total separately invested portfolio           84,781,834         83,749,647

                  Totals                                     $305,529,667       8293,242,690




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                                                                                     Exhibit E
                                                                                    (Continued)

Note 5 - INVESTMENTS (Continued)

         As of June 30, 2019 and 2018, investments are comprised of amounts owned by the
         Administrative Offices and funds held for others, as follows;

               Administrative Offices                $ 174,974,607         $ 174,954,005
               Funds held tbr others                   130,555,060           118,288,685

                      Totals                         $305,529,667          $293,242,690

         Net investment income, excluding income on funds held for others, for the years ended
         June 30, 2019 and 2018, is comprised of the following:

                                                            2019                 2018

               Interest, dividends, and realized
                  gains - net                           $3,734,809           $4,576,653
               Unrealized gains - net                    3,097,486            2,950,106

                     Total net investment income        $6,832,295           $7,526,759

         Investment income is reported net of investment fees.        Investment fees were
         approximately $1,070,000 and $1,131,000 for the years ended June 30, 2019 and 2018,
         respectively.


Note 6 - LAND, BUILDINGS, AND EQUIPMENT

         Land, buildings, and equipment include certain properties, which are owned by the
         Archdiocese, but are used in the operations of certain non-combined affiliated entities.
         Additionally, included in land, buildings, and equipment is land held for future
         development by the Archdiocese.




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                                                                                     Exhibit E
                                                                                    (Continued)

Note 6 - LAND, BUILDINGS, AND EQUIPMENT (Continued)

         The composition of land, buildings, and equipment and accumulated depreciation as of
         June 30, 2019 and 2018, is summarized as follows:

                                                               2019                2018

             Administrative offices:
               Land                                        $ 4,446,444         S 4,552,866
               Buildings and improvements                   34,503,519          34,901,115
               Furniture and fixtures                        1,583,718           1,583,718
               Transportation equipment                        196,154             196,154
               Construction in progress                        274,119
                                                             41,003,954          41,233,853
             Less accumulated depreciation                  (19,494,829)        (19,146,304)

                        Subtotals                            2L509J25            22,087,549

             Non-combined affiliated entities:
               Land                                           6,111,605           6,137,912
               Buildings and improvements                    64,295,575          64,444,647

                                                             70,407,180          70,582,559
             Less accumulated depreciation                  (23,625,374)        (22,446,770)

                        Subtotals                            46,781,806          48,135,789

             Land held for future development
                (includes $190,625 of land,
                    the use of which is restricted)           3,230,347           3,230,347

                        Totals                             $71,521,278         $73,453,685

         Depreciation expense for the years ended June 30, 2019 and 2018 was S2,169,971 and
         $2,170,032, respectively, of which $1,306,223 and $1,307,502, respectively, is related to
         non-combined affiliated entities. Depreciation expense is reported in the statements of
         activities by functional category as follows:

                                                               2019                2018

                     Program services                       $1,729,194          $1,715,116
                     Supporting seivices                       440,777             454,916

                         Totals                             $2,169,971          $2,170,032


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                                                                                          Exhibit E
                                                                                         (Continued)

Note 7 - BENEFICIAL INTEREST IN CHARITABLE REMAINDER TRITST

         During the fiscal year ended June 30, 2001, the Administrative Offices received
         possession of a 20% interest in the assets of the Margaret Ellen Lauer Estate (the "Estate").
         However, certain assets from the Estate were placed in a charitable remainder trust. There
         are no donor restrictions on the use of this donation. However, because the Estate assets
         will not be distributed to the principal beneficiaries until its obligations to the income
         beneficiaries' obligations are satisfied, those assets are restricted due to time. The
         Administrative Offices' interest in this charitable remainder trust is, as follows:

                                                                2019              2018

                  Contribution receivable                    S 684,472         $ 1,266,607
                  Less discount to net present value          (255,750)           (686,360)

                  Beneficial interest in charitable
                    remainder trust                          S428,722          $ 580,247

         During the year ended June 30, 2019, the beneficiaries of the trust agreed to revise the
         Estate since there were sufficient assets remaining in the Estate to fulfill its obligations
         to the two remaining beneficiaries. As such, the Administrative Offices received a
         distribution during the year of $600,000.

         Present value is calculated using a discount rate of 5% and the applicable mortality table
         pertinent to the remaining trust beneficiaries.

         All amounts are considered to be long-temi since the dates of the distribution of the trust
         are uncertain.

Notes- BONDS PAYABLE

         In April 2017, the Archdiocese completed a refinancing for the purpose of advance
         refunding of Louisiana Public Facilities Authority (LPFA) 2007 Series Bonds. The 2007
         Series Bonds had been issued to advance refund LPFA 2001A and LPFA 2002C Series
         Bonds, which had provided financing for certain capital projects of the Archdiocese and
         non-combined affiliated entities. The LPFA issued the $41.9 million par value 2017
         Series Refunding Revenue Bonds, atapremiumofS3.1 million. The proceeds were then
         loaned to the Archdiocese for the refunding of all outstanding principal and accrued
         interest on the 2007 Series Bonds. The 2017 bonds were issued at fixed rates of 2%
         ($1,350,000), 2.25% ($1,385,000), and 5% ($39,160,000). The bonds are obligations of
         the LPFA and are payable solely out of amounts received from the Archdiocese pursuant
         to the terms and provisions of the indenture and loan agreements. The obligation to make
         repayments under the loan agreement constitutes a general, unsecured obligation of the
         Archdiocese.
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                                                                                       Exhibit E
                                                                                      (Continued)

Note 8 - BONDS PAYABLE (Continued)

         The bonds require the Administrative Offices to maintain certain covenants under the
         tenns of the loan agreement. For fiscal year 2019, the Administrative Offices met the
         debt service coverage ratio required by the bond agreement. The debt service coverage
         ratio was not met in 2018. An event of default would occur if the debt service coverage
         ratio is not met for two consecutive fiscal years. The Administrative offices is not aware
         of any other violation of the covenants.

         The aggregate maturities of the bonds payable as of June 30, 2019, are as follows:

                                Years Ending
                                  June 30,

                                    2020                         $
                                    2021                              1,385,000
                                    2022                              1,415,000
                                    2023                              1,485,000
                                    2024                              1,560,000
                                 2025- 2037                          32,125,000

                                   Subtotal                          37,970,000

                            Unamortized bond premium                  2,720,584
                            Unamortized costs of issuance              (645,049)

                                                                 $40,045,535


Note 9- RETIREMENT PLANS

         The Administrative Offices offers a 401(k) defined contribution plan (the "401(k) Plan")
         to its employees and employees of affiliates. Employees electing to participate in the
         401(k) Plan are required to contribute a minimum of 3% of their salaries, and may elect to
         contribute up to a maximum of 75%. The 401(k) Plan requires the Administrative Offices
         to contribute 3.5% of the participants' salaries. Retirement plan expenses also include an
         additional 2% contribution by the Administrative Offices to cover costs for life insurance,
         disability insurance, and administration of benefits for all employees. Any remaining
         funds from the 2% contribution may be used as a discretionary employer contribution to
         the 401(k) Plan. The 401(k) Plan administrator is the Archdiocese. The Administrative
         Offices contnbuted approximately $447,000 and S443,000 for the years ended June 30,
         2019 and 2018, respectively.


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                                                                                      Exhibit E
                                                                                     (Continued)

Note 9 - RETIREMENT PLANS (Continued)

         Incardinated priests of the Archdiocese, whose retirement from active service is duly
         accepted by the Archbishop, are eligible for retirement benefits under an unfunded
         retirement plan (the "Plan"). The Administrative Offices has elected to account for these
         retirement benefits under accounting principles generally accepted in the United States
         of America, as a defined benefit pension plan.

         FASB ASC 715-20 requires a not-for-profit entity to recognize the overfunded or
         underfunded status of defined benefit pension, and postretirement plans, as an asset or
         liability in its statements of financial position, and to recognize changes in that funded
         status in the year in which the changes occur through net assets.

         The following table as of June 30, 2019 and 2018 sets forth the Plan's change in benefit
         obligation, change in Plan assets, and the funded status of the Plan:

                                                               2019                 2018

            Change in benefit obligation:
              Projected benefit obligation -
                 beginning of year                         $(43,330,928)        $(44,002,789)
              Service cost                                      (818,546)           (905,223)
              Interest cost                                   (1,815,236)         (1,698,257)
              Plan amendments                                  1,213,129            (421,873)
              Actuarial gain                                     138,320           2,416,873
              Benefits paid                                    L380.966            1,280,341

                Projected benefit obligation -
                   end of year                              (43,232,295)         (43,330,928)

            Change in plan assets:
              Fair value of plan assets -
                 beginning of year
              Employer contributions made                     1,380,966             1,280,341
              Benefits paid                                  (1,380,966)           (1,280,341)

               Fair value of plan assets -
                  end of year

            Funded status - (deficit)                      $(43,232,295)        $(43,330,928)




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                                                                                     Exhibit E
                                                                                    (Continued)

Note 9 - RETIREMENT PLANS (Continued)

                                                                   2019             2018

            Amounts recognized in the statements
              of financial position consist of;
                  Accrued pension liability                  5(43,232,295)     5(43,330,928)

                   Net assets without donor restrictions
                      Net loss - cumulative impact of
                          additional minimum pension
                              liability                      S    8,763,453    5 9,202,705
                      Prior service cost (credit)                  (369,175)       900,954

                                 Totals                      S    8,394,278    5 10,103,659

         The actuarial present value of the projected benefit obligation was computed using a
         weighted-average discount rate of 3.790% and 4.280% as of June 30, 2019 and 2018,
         respectively. Because benefit payments are based on years of service rather than
         compensation levels, there is no difference between the accumulated and projected
         benefit obligation.

         For the years ended June 30, 2019 and 2018, net periodic benefit cost, included in priest
         housing and living expense in the statement of functional expenses, includes the
         following components:

                                                                   2019              2018

                        Ser\fce costs - benefits earned
                           during the periods                    $ 818,546        $ 905,223
                        Interest cost on projected
                           benefit obligation                     1,815,236        1,698,257
                        Amortization of net loss                    300,932          485,087
                        Amortization of prior ser\ic e
                           cost (credit)                             57,000           30,929

                              Net periodic benefit cost          52,991,714       $3,119,496

         The net periodic benefit cost was computed using a weighted-average discount rate of
         4.280% and 3.930% for the years ended June 30, 2019 and 2018, respectively.

         The additional minimum pension liability adjustment, presented in the statements of
         activities, resulted in a gains of $1,709,381 and $2,511,016 for the years ended June 30,
         2019 and 2018, respectively. The gains in 2019 and 2018 were primarily due to actuarial
         gains attributable changes in census data and the discount rate.

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                                                                                      Exhibit E
                                                                                     (Continued)

Note 9 - RETIREMENT PLANS (Continued)

         The Administrative Offices currently expects to make contributions to the Plan of
         approximately $1,480,000 in fiscal year 2020.

         The estimated net loss and prior service cost (credit) that will be amortized from
         accumulated net assets without donor restrictions into net periodic benefit cost over the
         next fiscal year are estimated to be $291,018 and ($26,441), respectively.

         Future benefit payments expected to be paid in each of the next five fiscal years, and in
         the aggregate for the following five years as of June 30, 2019, are as follows:

                                Years Ending
                                  June 30.

                                   2020                      S 1,479,615
                                   2021                        1,653,879
                                   2022                        1,737,000
                                   2023                        1,828,050
                                   2024                        1,930,194
                                2025 -2029                    10.808.244

                                                             $19,436,982


Note 10 - NET ASSETS

         Net assets without donor restrictions as of June 30, 2019 and 2018 were $51,017,384 and
         $47,203,051, respectively. Included in net assets without donor restrictions as of June
         30, 2019 and 2018 is $800,000 which is board-designated for an insurance deductible
         related to coverage for named storms. Net assets without donor restrictions as of June 30,
         2018 also includes $75,000 which is board-designated for risk mitigation projects to help
         reduce workers' compensation claims.




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                                                                                      Exhibit E
                                                                                     (Continued)

Note 10 - NET ASSETS (Continued)

         Net assets with donor restrictions consist of the following as of June 30, 2019 and 2018:

                                                               2019                2018

             Restricted to expenditure for a
                specified purpose:
                    School endowment                       S 2,555,355         $ 2,689,878
                    Infirm priests                           7,612,220           7,384,727
                    Cathedral Capital Campaign               1,338,590           1,259,493
                    Burses                                     552,707             579,702
                    Disaster fiind                             451,124             442,115
                    Hector Ragas                               225,223             376,080
                    Cummings land donation                     127,125             127,125
                    Other                                      332,213             569,430

                    Totals with purpose restrictions        13,194,557           13,428,550

             Restricted to expenditure after the
                passage of time:
                    Margaret Lauer                              428,722             580,247

             Restricted m perpetuity:
                    School endowment                        11,152,537           11,152,537
                    Burses                                   1,992,827            1,991,769
                    St. Louis Cathedral                      1,000,000            1,000,000

                    Totals restricted in perpetuity          14,145,364          14,144,306

                    Totals with restrictions               S27,768,643         $28,153,103




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                                                                                        Exhibit E
                                                                                       (Continued)

Note 10 - NET ASSETS (Continued)

         The following net assets with donor restrictions which are temporary in nature were
         released June 30, 2019 and 2018, due to satisfaction of purpose restrictions:

                                                            2019                2018

                    Released due to the satisfaction
                       of purpose restrictions:
                           School endowment             S 670,005           S 686,180
                           Infirm priests                 190,651              197,248
                           Burses                         122,760              127,337
                           Disaster fUnd                  126,015            1,753,265
                           Hector Rauas                   159,350
                           Other - miscellaneous          247.345               119,558

                                                          1,516,126           2,883,58;
                    Released due to the satisfaction
                       of time restrictions:
                           Margaret Lauer                   600,000

                        Total net assets released       52,116,126          52,883,58;


Note 11 - CONCENTRATIONS OF CREDIT RISK

         The Administrative Offices maintams a substantial amount of cash in certam banks, which
         at times may exceed federally insured deposit limits. The Administrative Offices has not
         experienced any loss in such accounts, and management believes that the Administrative
         Offices is not exposed to any significant credit risk related to the cash in banks. As of
         June 30, 2019, the Administrative Offices had approximately 51,120,000 of uninsured
         bank deposits.

         The Administrative Offices extends unsecured credit to non-combined affiliated entities,
         as further explained in Notes 2d and 2e. Financial instruments that potentially subject the
         Administrative Offices to credit risk include these accounts, which are shown on the
         statements of financial position as accounts and loans receivable.




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                                                                                         (Continued)

Note 12 - LIQUIDITY AND AVAILABILITY OF RLSOURCLS

         Financial assets available for general expenditure, that is, without donor or other
         restrictions limiting their use, within one year of the statement of financial position date,
         comprise the following:

              Financial assets:
                 Cash and cash equivalents                                       $  5,245,069
                 Grants receivable - FEMA                                             334,496
                 Accounts recehuble from affiliates and other, net                 10,205,646
                 Reinsurance receivable                                             3,432,853
                 Loans receivable from affiliates - less allowance                 68,520,032
                 Investments                                                      305,529,667
                 Funds held tor affiliates                                       (133,388,826)
                 Deposits payable to affiliates                                  (153,888,042)
                 Beneficial interest in charitable remainder trust                    428,722

                     Total financial assets as of June 30, 2019
                        - Administrative Offices                                  106,419,617

              Less amounts unavailable for general expenditures
                 or specific purposes within one year, due to:
                     Restrictions by donors for fritiire periods                        (428,722)
                     Restricted by donors in perpetuity                              (14,145,364)
                     Loans receivable from affiliates - less allowance
                          - noncurrent portion                                       (63,295,558)
                     Illiquid investments - Administrative Offices                    (4,074,209)

                            Total available within one year tor general
                               expenditures and specific purposes                    24,475,764

              Less amounts unavailable tor general expenditures
                 within one year, due to:
                    Restrictions by donors for a specified purpose                   (13,194,557)
                    Board designations                                                  (800,000)

              Financial assets available to meet cash needs for
                 general expenditures within one year                            $ 10,481,207

         The Administrative Offices' endowment funds consist of donor-restricted endowments,
         which are not available for general expenditure. Income from donor-restricted
         endowments is restricted for specific purposes, with the exception of the amounts available
         for general use. As described in Note 15, the Administrative Offices appropriates an
         amount for distribution each year based on a spending policy. The amount appropriated
         to be used in the next year from these donor-restricted endowments is 51,110,497.

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                                                                                          Exhibit E
                                                                                         (Continued)

Note 12 - LIQUIDITY AND AVAILABILITY OF RLSOURCLS (Continued)

         The Administrative Offices monitors its liquidity so that it is able to meets its operating
         needs and other contractual commitments as they come due. As part of the Administrative
         Offices' liquidity management plan, cash in excess of daily requirements is invested.

Note 13 - RELATED-PARTY TRANSACTIONS

         The Archbishop of New Orleans serves as president of the Archdiocese. He also serves
         as the controlling member of all other corporations, boards of trustees, and separate
         activities sponsored by, or operated under, the auspices of the Archdiocese. In the normal
         course of operations, the Administrative Offices has made and will, when necessary, make
         available to these non-combined affiliated entities, specific assistance in the fonn of
         operating subsidies, loans, use of facilities, and/or administrative support. The
         Administrative Offices receives income from affiliates in the form of assessments to
         cover insurance and other administrative costs. In addition, the Administrative Offices
         pays interest on deposits payable to affiliates and collects interest on loans receivable
         from affiliates.

         In lieu of rental payments for the use of facilities, non-combined affiliated entities pay
         insurance, repairs, and maintenance for the facilities. The provision of the facilities is not
         recorded as an in-kind contribution and related rental income by the Administrative
         Offices. The values of the use of the land and buildings are not readily detenninable.
         These rental agreements are classified as exchange transactions because both parties
         receive significant value from these arrangements.

         Other related party transactions include premium payments to and funds received from a
         captive insurance company (Note 16).

Note 14 - FAIR VALUE OF FINANCIAL INSTRUMENTS

         Cash and Cash Equivalents - The carrying amount approximates fair value because of
         the short maturity of these instruments.

         Loans Receivable From Affiliates - The carrying amount approximates fair value
         because amounts not reserved generally bear interest at market rates.

         Investments - The carrying amounts of the marketable investment securities reported on
         the statements of financial position are predominately based on quoted market prices and
         other observ^able inputs. See Note 17 for a discussion of fair value measurements.

         Bonds Payable - The carrying value of long-tenn debt as of June 30, 2019 and 2018, is
            ,045,535 and $41,578,676, respectively, which approximates fair value.

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                                                                                       (Continued)

Note 14 - FAIR VALUE OF FINANCIAL INSTRUMENTS (Continued)

         Limitations - Fair value estimates are made at a specific point in time, based on relevant
         market information and information about the financial instruments. These estimates are
         subjective in nature and involve uncertainties and matters of significant judgment and,
         therefore, cannot be detemiined with precision. Changes in assumptions could
         significantly affect the estimates.

Note 15 - ENDOWMENT

         The Endowments. The Administrative Offices' endowment consists of three individual
         funds established for specific purposes. Endowment assets include those assets of donor-
         restricted funds that the Administrative Offices must hold in perpetuity or for a donor-
         specified period. As required by accounting principles generally accepted in the United
         States of America, net assets associated with endowment fiinds are classified and reported
         based on the existence or absence of donor-imposed restrictions.

         Interpretation of Relevant Law. The Administrative Offices has interpreted the Louisiana
         Uniform Prudent Management of Institutional Funds Act (UPMIFA) as requiring
         preservation of the fair value of the original gift of the donor-restricted endowment funds,
         absent explicit donor stipulations to the contrary. As a result of this interpretation, the
         Administrative Offices retains in perpetuity: (a) the original value of gifts donated to the
         pemianent endowment, (b) the original value of subsequent gifts to the permanent
         endowment, and (c) accumulations to the permanent endowment, made in accordance
         with the direction of the applicable donor gift instrument at the time the accumulation is
         added to the fund. Donor-restricted endowment flinds not retained in perpetuity are
         subject to appropriation for expenditure by the Administrative Offices in a manner
         consistent with the standard of care prescribed by UPMIFA.

         In accordance with UPMIFA. the Administrative Offices considers the following factors
         in making a detennination to appropriate or accumulate donor-restricted endowment
         funds:
            •   The duration and preservation of the fund;
            •   The purposes of the Administrative Offices and the donor-restricted endowment
                fund;
            •   General economic conditions;
            •   The possible effect of inflation and deflation;
            •   The expected total return from income and the appreciation of investments;
            •   Other resources of the Administrative Offices; and
            •   The investment policies of the Administrative Offices.

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                                                                                  (Continued)

Note 15 - ENDOWMENT (Continued)

         Endowment fund net asset composition by type of fund as of June 30, 2019 and 2018, are
         as follows;
                                              Net Assets        Net Assets
                                             Without Donor      With Donor
                                              Restrictions      Restrictions        Totals

                    June 30, 2019

             Donor-restricted Endowments:
               School endowment funds         S           -     S 13,707,892     $13,707,892
               Other                                      -        4,884,124       4,884,124
                   Totals                    _S           ^     $18,592,016      $18,592,016

                    June 30, 2018

             Donor-restricted Endowments:
               School endowment funds         $           -     $13,842,415      $13,842,415
               Other                                      -       4,830,964        4,830,964
                   Totals                     $           -     $18,673,379      $18,673,379

         Changes in endowment fund net assets for the years ended June 30, 2019 and 2018 are
         as follows:
                                             Net Assets        Net Assets
                                           Without Donor       With Donor
                                            Restrictions       Restrictions       Totals

             Balance, July 1,2017            $            -    $17,916,101       $17,916,101
                Contributions                             -            787               787
                Investment earnings:
                   Realized gains                         -         569,199          569,199
                   Unrealized gams                        -       1,000,809        1,000,809
                Net asset releases                        -        (813,517)        (813,517)

             Balance, June 30, 2018                       -      18,673,379       18,673,379
                Contributions                             -           1,058            1,058
                Investment earnings:
                   Realized gams                          -         516,167          516,167
                   Unrealized gams                        -         194,177          194,177
                Net asset releases                        ^        (792,765)        (792,765)

             Balance, June 30, 2019          $            -    $18,592,016      $18,592,016



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                                                                                       (Continued)

Note 15 - ENDOWMENT (Continued)

         Funds with Deficiencies - From time to time, the fair value of assets associated with
         certain individual donor-restricted endowment fiinds may fall below the level that the
         donor or UPMIFA requires the Administrative Offices to retain as a fund of perpetual
         duration (underwater endowments). The Administrative Offices has interpreted
         UPMIFA to permit spending from underw^ater endowments in accordance with prudent
         measures required under law. As of June 30, 2019 and 2018, no deficiencies existed.

         Return Objectives and Risk Parameters - The Administrative Offices has adopted
         investment and spending policies for endowment assets that attempt to provide a
         predictable stream of funding to programs supported by its endowment, while seeking to
         maintain the purchasing power of the endowment assets. Under the investment policy,
         the performance objective is to exceed by 100 basis points a target annualized rate of
         return equal to the aggregate of inflation, spending rate and administrative costs, over a
         full market cycle (defined as market peak to market peak) without exceeding a standard
         deviation of 1.2 times a weighted benchmark index. The benchmark index will be
         comprised of each asset class index weighted by its target allocation. It is expected that
         the portfolio will outperform its weighted benchmark index by 50 basis points and rank
         in the top half of the appropriate balanced universe over a full market cycle. Actual
         returns in any given year may vary from this amount.

         Strategies Employedfor Achieving Objectives - Because the Archdiocese is expected to
         endure indefinitely, and because inflation is a key component in its performance
         objective, the long-term risk of not investing in equity securities outweighs the short-term
         volatility risk. As a result, the majority of assets will be invested in equity securities.
         Fixed income securities will be used to lower the short-term volatility of the portfolio and
         to provide income stability, especially during periods of weak or negative equity markets.
         Cash is not a strategic asset of the portfolio, but is a residual to the investment process
         and used to meet short-tenn liquidity needs. Other asset classes are included to provide
         diversification and incremental return (e.g., small cap equities, international equities,
         etc.). The Administrative Offices targets a diversified asset allocation that places a
         greater emphasis on equity-based investments to achieve its long-term return objectives
         within prudent constraints.

         Spending Policy and How the Investment Objectives Relate to Spending Policy - The
         Administrative Offices authorized a policy of appropriating for distribution each year
         (spending rate) a maximum of 5% of the prior year market value of the endowment funds.
         This is consistent with its objective to maintain the purchasing power of donor-restricted
         funds.




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                                                                                        Exhibit E
                                                                                       (Continued)

Note 16 - COMMITMENTS AND CONTINGENCIES

         Commitments - In February 2009, the Administrative Offices subscribed to a S7,000,000
         investment in Siguier Guff Distressed Opportunity Fund III, L.P. As of June 30, 2019,
         $6,790,000 of this investment was flinded. In October 2010, the Administrative Offices
         subscribed to a $4,000,000 investment in Siguier Guff Distressed Opportunity Fund IV,
         L.P. As of June 30, 2019, $3,660,000 of this investment was funded. In October 2014,
         the Administrative Offices subscribed to a $5,000,000 investment in Siguier Guff
         Distressed Real Estate Opportunity Fund II, L.P. As of June 30, 2019, $4,240,000 of this
         investment was hinded. In March 2015, the Administrative Offices subscribed to a
         $7,000,000 investment in Venture Investment Associates Energy III, L.P. As of June 30,
         2019, $4,445,000 of this investment was funded. In March 2016, the Administrative
         Offices subscribed to a $5,500,000 investment in Harvest MLP Income Fund. As of June
         30, 2019, $4,000,000 of this investment was funded.

         Guarantees - On September 4, 2014, the Administrative Offices agreed to provide up to
         $14,000,000 of subordinated debt and/or equity and guarantee the financing of a housing
         ministry project up to $43,000,000. After completion of the project and achievement of
         certain financial ratios, the guarantee will be reduced to 35% of the guaranteed obligation
         and ultimately, the guarantee will tennmate upon achievement of more stringent financial
         ratios. During the year ended June 30, 2017, most of the subordinated debt was
         refinanced with a $12,000,000 loan from Hancock Whitney Bank, which is guaranteed
         by the Administrative Offices. As of June 30, 2019 and 2018, the project debt balances
         were $47,952,424 and $50,009,055, respectively. As of June 30, 2019 and 2018, the total
         balances on the subordinated debt were $9,983,896 and $6,118,776, respectively. The
         Administrative Offices is expected to continue to extend funds pursuant to this agreement
         during the next year or two in order to help cover senior debt services and operating cash
         flow needs until the housing ministry is able to generate cash flows sufficient to cover its
         obligations.

         Self-Insurance Programs - The Archdiocese, through the operations of the
         Administrative Offices, serv^es as a conduit in providing insurance coverage to its
         affiliates. Prior to July 1, 2011, the Administrative Offices assessed premiums to the
         various affiliated entities based on relevant factors for each type of coverage and retained
         all of the related risk of self-insurance liability. The accrued liability for self-insured
         claims on the accompanying statements of financial position represents the estimated
         reserves for all of the covered entities for claims occurring prior to July 1, 2011.




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                                                                                     Exhibit E
                                                                                    (Continued)

Note 16 - COMMITMENTS AND CONTINGENCIES (Continued)

         On June 28, 2011, Archdiocese of New Orleans Indemnity, Inc. (ANOI), a captive
         insurance company was created to help lower the insurance costs associated with
         managing the risks of the parishes and various non-combined affiliated entities. ANOI
         is a wholly-owned subsidiary of 7887 Walmsley, Inc., which is a wholly-owned
         subsidiary of the Archdiocese.

         For claims occurring subsequent to June 30, 2011, ANOI provides deductible
         reimbursement, property, automobile liability and physical damage, workers'
         compensation, breach of personal conduct, and general liability coverages to the
         Archdiocese. Property, automobile liability and physical damage, and general liability
         coverages are provided on an occurrence basis and breach of personal conduct on a
         claims-made basis with limits of S300,000 per occurrence and a combined $3,500,000
         annual aggregate (limits of $250,000 per occurrence and a combined $3,000,000
         annual aggregate prior to July 1, 2013). Workers' compensation coverage is provided
         on an occurrence basis with limits of $800,000 per accident and no annual aggregate.

         Effective July 1, 2018, the Archdiocese began partially self-insuring for employee health
         care coverage. All parishes, schools, and non-combined affiliated entities participate in
         the health insurance program, which includes enrollment of approximately 4,100
         employees. The Archdiocese is self-insured for claims up to $10,000. The captive
         insurance company, ANOI, provides medical stop-loss coverage for claims between
         $10,000 and $300,000 and aggregate stop-loss coverage for total claims in excess of
         110% of expected claims. Additionally, the Archdiocese has purchased excess
         medical/phamiacy stop loss coverage for claims over $300,000 from a third-party insurer.

         The Archdiocese is a subscribing member in the Catholic Umbrella Pool (CUP). The
         CUP provides the Archdiocese with reinsurance for general property and auto liability
         claims in excess of its primary layer of insurance coverage of $3,000,000 through June
         30, 2013, and $3,500,000 thereafter, with excess coverage limits of $25,000,000 in the
         aggregate. The Archdiocese has an equity investment in the CUP of approximately
         $515,700 and $632,000 as of June 30, 2019 and 2018, respectively.

         For claims prior to July 1, 2011, the Archdiocese is self-insured, as follows:

         General, Property, and Auto Liability' - The Archdiocese is self-insured for $200,000
         per occurrence up to an annual aggregate limit of $1,500,000 through June 30, 2003, and
         $1,750,000 thereafter.




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                                                                                        Exhibit E
                                                                                       (Continued)

Note 16 - COMMITMENTS AND CONTINGENCIES (Continued)

            Workers' Compensation - The Archdiocese is self-insured for workers' compensation
            claims for the first S225,000 per occurrence for claims occurring prior to July 1, 2002,
            for the first S750,000 per occurrence for claims occurring between July 1, 2002 and
            June 30, 2009, and for workers' compensation claims for the first S800,000 per
            occurrence for claims occurring subsequent to June 30, 2009.

            The Archdiocese is also self-insured for claims relating to breaches of personal
            conduct. The self-insured portion applies to claims in excess of annual aggregate
            limits (which include reinsurance for amounts provided by the CUP) as follows:
            amounts in excess of $100,000 from July 1, 1990 to July 1, 1993; amounts in excess
            of S650,000 from July 1, 1993 to July 1, 1998; and amounts in excess of $ 1,000,000
            for claims after July 1, 1998.

         The Archdiocese has reflected its estimate of the ultimate liability for all known and
         incurred, but not reported claims in the accompanying financial statements. The
         estimated reserves for all claims (including medical) are undiscounted and are
         approximately $11,231,000 and $9,515,000 as of June 30, 2019 and 2018, respectively.

         Asset Retirement Obligations - In accordance with FASB ASC 410-20, an entity is
         required to recognize a liability for the fair value of a conditional asset retirement
         obligation when incurred, if the liability's fair value can be reasonably estimated. The
         corresponding cost is capitalized as part of the canying amount of the related long-lived
         asset as of the obligating event date. The liability is accreted to its present value each
         period and the capitalized cost is depreciated over the useful life of the related asset. If
         the liability is settled for an amount other than the recorded amount, a gain or loss is
         recognized.

         As of June 30, 2006, the Administrative Offices recognized obligations associated with
         the fiiture retirement of long-lived assets. Asbestos abatement costs were added to the
         carrying value of the Administrative Offices' building cost. The recorded net book value
         of the abatement costs totaled approximately $243,000 and $263,000 as of June 30, 2019
         and 2018, respectively.
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                                                                                          Exhibit E
                                                                                         (Continued)

Note 16 - COMMITMENTS AND CONTINGENCIES (Continued)

         Estimated asset retirement obligations of approximately $1,101,000 and SI,048,000 as of
         June 30, 2019 and 2018, respectively, were recorded as part of accrued expenses and
         other liabilities.

         Contingencies - The Archdiocese has certain pending and threatened litigation and
         claims; however, management believes the probable resolution of such contingencies will
         not exceed the established reserves or insurance coverage, and will not materially affect
         its financial position. It is reasonably possible that estimates included in the financial
         statements related to these contingencies may change in the near term and the range of
         these potential changes cannot be estimated.


Note 17 - FAIR VALUE MEASUREMENTS

         The framework for measuring fair value provides a fair value hierarchy that prioritizes
         the inputs to valuation techniques used to measure fair value. The hierarchy gives the
         highest priority to unadjusted quoted prices in active markets for identical assets or
         liabilities (level 1) and the lowest priority to unobservable inputs (level 3). The three
         levels of the fair value hierarchy under FASB ASC 820 are described below:

            Level 1 - Inputs to the valuation methodology are unadjusted quoted prices for
                      identical assets or liabilities in active markets that the Administrative
                      Offices has the ability to access.

            Level 2 - Inputs to the valuation methodology include:
                       • quoted prices for similar assets or liabilities in active markets;
                       • quoted prices for identical or similar assets or liabilities in inactive
                         markets;
                       • inputs other than quoted prices that are observable for the asset or
                         liability;
                       • inputs that are derived principally from or corroborated by observable
                         market data by correlation or other means.

                       If the asset or liability has a specified (contractual) terni, the level 2 input
                       must be observable for substantially the full term of the asset or liability.




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                                                                                         Exhibit E
                                                                                        (Continued)

Note 17 - FAIR VALUE MEASUREMENTS (Continued)

            Level 3 - Inputs to the valuation methodology are unobservable and significant to the
                      fair value measurement.

         The asset's or liability's fair value measurement level within the fair value hierarchy is
         based on the lowest level of any input that is significant to the fair value measurement.
         Valuation techniques maximize the use of relevant observ^able inputs and minimize the
         use of unobservable inputs.

         The following is a description of the valuation methodologies used for assets and
         liabilities measured at fair value. There have been no changes m the methodologies used
         as of June 30, 2019 and 2018.

         Government obligations and corporate stocks - Valued at the closing price reported on
         the active market on which the individual securities are traded. These are included in
         level 1 of the fair value hierarchy.

         Money market fimds, mutualfunds, and exchange tradedfunds - Valued at quoted market
         prices, which represent the net asset value per unit. These are included m level 1 of the
         fair value hierarchy.

         Government agency obligations, municipal obligations, corporate obligations,
         collateralized mortgage obligations, asset-backed securities, and brokered certificates of
         deposit - Valued by independent pricing vendors used by the custodians of the
         investments. The pricing vendor uses various pricing models for each asset class that are
         consistent with what other market participants would use. The inputs and assumptions to
         the models used by the pricing vendors are derived from market-observable sources,
         including benchmark yields, reported trades, broker/dealer quotes, and other market-
         related data. Since many of these fixed income securities do not trade on a daily basis,
         the methodology of the pricing vendor uses available infomiation, including benchmark
         curves, benchmarking of like securities, and matrix pricing. These investments are
         included m level 2 of the fair value hierarchy.

         Investment in the Catholic Umbrella Pool - The Administrative Offices values its
         investment m this pool based on infonnation provided by the pool manager. This
         investment is classified within level 2 of the fair value hierarchy.

         Beneficial Interest in Charitable Remainder Trust - The Administrative Offices values
         its investment in this trust based on present value calculations (Note 7) applied to the fair
         value of trust assets. This investment is classified within level 2 of the fair value
         hierarchy.


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                                                                                         Exhibit E
                                                                                        (Continued)

Note 17 - FAIR VALUE MEASUREMENTS (Continued)

         Asset Retirement Obligation - The Administrative Offices calculates this liability based
         on an original cost estimate of the obligation and accretes such amount to its present
         value each year.

         Accnied Pension Liability - The Administrative Offices uses actuarial services to
         calculate the present value of the projected benefit obligation (Note 9).

         Segregated portfolio companies, hedge feeder funds, fund of funds, and limited
         partnerships - Valued using the net asset values reported by the investees as a practical
         expedient. The net asset values are determined based on the fair values of the underlying
         investments of the funds, companies, or partnerships. In accordance with ASU 2015-07,
         these assets are excluded from categorization in the fair value hierarchy.

         The methods described above may produce fair value calculations that may not be
         indicative of net realizable value or reflective of future fair values. Furthermore, while
         the Administrative Offices believes its valuation methods are appropriate and consistent
         with those of other market participants, the use of different methodologies or assumptions
         to determine the fair value of certain financial instruments could result in a different fair
         value measurement at the reporting date.

         The statements of financial position as of June 30, 2019 and 2018, include the following
         assets which are measured at fair value on a non-recurring basis: donated historical
         treasures included in other assets totaling 5122,000 (level 3) and donated land in an
         undetemiined amount (level 3), which are valued at estimated or appraised fair value as
         of the time of the donations.




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                                                                                                (Continued)

Note 17 - FAIR VALUE MEASUREMENTS (Continued)

         Assets and liabilities measured at fair value on a recurring basis as of June 30, 2019 and
         2018 are comprised of and determined, as follows;

                                                       Fair Value Measurement Based On;
                                                  Quoted Prices       Other                       Total Assets
                                                    In Active      Observable    Unobservable    and Liabilities
                          June 30. 2019              Markets          Inputs        Inputs       Measured At
                           Description              (Level 1)       (Level 2)      (Level 3)       Fair Value

         Portfolio A
            Cash and money market fiinds          $ 10,078,926                                   $ 10,078,926
            Gowrnment obh^tions                     21,043,394                                     21,043,394
            Gowrnment agency mortgage
                obligations                                       $     500,762                        500,762
            Corporate obligations (a)
                Aaa                                                      824,536                       824,536
                Aal                                                      206,400                       206,400
                Aa2                                                    1,065,953                     1,065,953
                Aa3                                                      948,034                       948,034
                A1                                                     3.617,513                     3,617,513
                A2                                                     4,262,585                     4,262,585
                A3                                                     2,866,192                     2,866,192
                Baal                                                   1,979,364                     1.979,364
                Baa2                                                     931,816                       931,816
                Baa3                                                   2.429,711                     2,429,711
                Bal                                                      400,175                       400,175
                NA                                                       747,576                       747,576
            Collateralized mortgage obligations                          430,820                       430,820
            Asset-backed securities (a)
                Aaa                                                    1,795,246                     1,795,246
                Aal                                                      417,979                       417,979
                Aa2                                                       85,137                        85,137
                Aa3                                                      333,600                       333,600
                NA                                                     2,021,496                     2,021,496
            Corporate stock
                Basic industries                     9,233,638                                      9,233,638
                Capital goods                        9,610,674                                      9,610,674
                Consumer durables                    2,239,765                                      2,239,765
                Consumer non-durables                7,940,908                                      7,940,908
                Consiuner services                  18,779,005                                     18,779,005
                Energy                               5,657,554                                      5,657,554
                Finance                             21.444,023                                     21,444,023
                Flealth care                        12,525,590                                     12,525,590
                Public utilities                     5,555,286                                      5,555,286
                Teclmology                          24,199,363                                     24,199,363
                Transportation                       3,055,594                                      3,055,594
                Other                                4,465,687                                      4,465,687
            Mutual funds
                Real estate                          8,269,191                                       8.269,191
            Exchange traded funds
                World bond                             406,688                                         406,688

                     Total Portfolio A             164,505,286        25,864,895                  190,370,181
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                                                                                                       Exhibit E
                                                                                                      (Continued)

Note 17 - FAIR VALUE MEASUREMENTS (Continued)

                                                            Fail" Value Measurement Based On;
                                                       Quoted Prices        Other                       Total Assets
                                                         hi Active       Obsei"vable   Unobservable    and Liabilities
                          June 30, 2019                   Markets           hiputs        Inputs       Measured At
                           Description                   (Level I)        (Level 2)      (Level 3)       Fair Value

         Portfolio B
            Cash and money market funds                     16,962,380                                   16,962,380
            Govermnent obligations                           3,573,760                                    3,573,760
            Govermnent agency obligations                                 16,090,219                     16,090,219
            Brokered certificates of deposit                                 499.440                        499,440
            Corporate obligations (a)
                Aaa                                                        3,362,456                       3,362,456
                Aal                                                        2,020,380                       2,020,380
                Aa2                                                        3,106,100                       3,106,100
                Aa3                                                        1,527,385                       1,527,385
                A1                                                         9.147.702                       9.147,702
                A2                                                         9,832,663                       9,832,663
                A3                                                         1,016,150                       1,016,150
                NA                                                           493,560                         493,560
                Aaa                                                          757,614                         757.614
                Aal                                                        4.252.705                       4.252,705
                Aa2                                                        5,019,809                       5,019,809
                Aa3                                                        2,751,522                       2,751,522
                A1                                                         1,030,780                       1,030,780
                A2                                                           782,235                         782.235
                A3                                                                 -                                 -
                NA                                                         2.037,951                       2.037,951

                      Total Portfolio B                     20,536,140    63,728,671                     84,264,811

         Bond-related portfolio
           Money market fimd                                    1,323              -             -             1,323

         In"vestinent in Catholic Umbrella Pool                              515,700                         515,700

                      Total assets in tlie feh \alue
                         hierarchy                     $185,042,749      $90,109,266   $                275,152,015




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                                                                                                          Exhibit E
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Note 17 - FAIR VALUE MEASUREMENTS (Continued)

                                                              Fair Value Measuiement Based On:
                                                         Quoted Prices       Other-                        Total Assets
                                                           In Active      Observable    liiobser-vable    and Liabilities
                          .Time 30. 2019                    Markets          Inputs         Inputs        Measm-ed .At
                            Description                    (Level 1)       (Level 2)       (Level 3)        Fair- Value

         Portfolio A assets measured at NAV
            Limited partnerships
                Siguier GufF Distressed
                   Opportunity Fund EIL LP                                                                     1.095,905
                Siller GufFDisti'essed
                   Opportunity Fiuid IV, LP                                                                    1,622,359
                Siguier GufF Distressed Real
                   Estate Opportunity Fund H, LP                                                               3,414,737
                Ventui'e Investment
                   Associates Energy' III, L.P.                                                                3,838,672
            Funds of funds
                Harvest MLP Licome Fmid, L.L.C.                                                                4,091,721
            Hedge feeder fund
                Rimrock Higli Income PLUS
                   (Ca5anan) Fimd, Ltd.                                                                        4,750,062
            Segregated portfolio companies
                ABS Offehore SPC Global
                   Segregated Poitfolio Class B                                                               11,564,196

               Investments measured at net asset velue                                                        30,377,652

                     Total investments                                                                    $305,529,667

        (a) Based on Moody's bond credit rating.


         Beneficial hiterest in
           Charitable Remainder Tmst                                          428.722                           428.722

         Liabilities, at Fair Value
            Asset Retiiernent Obligation
                incltrded in accrired
                expenses and other                                                        $1,100,906      $    1,100,906
            Accr ued Pension Liability                                    $43,232,295                         43.232.295

                     Total liabilities                                    $43,232,295      • 1,100,906        44,333,201




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                                                                                                        Exhibit E
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Note 17 - FAIR VALUE MEASUREMENTS (Continued)

                                                            Fail" Value Measurement Based On:
                                                     Quoted Prices          Other                           Total Assets
                                                       In Active         Obsei"\nble    Unobservable       and Liabilities
                          June 30. 2018                 Mai'kets           Inputs          Inputs          Measured At
                           Description                 (Level 1)          (Level 2)       (Level 3)          Fair Value

         Portfolio A
            Cash and money mai'ket fimds             $    15,607,864                                   $      15,607,864
            Gc^rnment obligations                         15.060.432                                          15,060,432
            Corporate obligations (a)
                Aaa                                                     $ 612,095                                612,095
                Aal                                                         53,869                                53,869
                Aa2                                                        322,450                               322,450
                Aa3                                                        785,767                               785,767
                A1                                                       2,199,047                             2,199,047
                A2                                                       2,249,612                             2,249,612
                A3                                                       2,562,859                             2,562,859
                Baal                                                     2,273,446                             2,273,446
                Baa2                                                       783,795                               783,795
                Baa3                                                     1,518,285                             1,518,285
                Bal                                                        763,515                               763,515
                NA                                                         370,863                               370,863
            CoEateralized mortgage obligatious (a)                         267,047                               267,047
            Asset-backed securities (a)
                Aaa                                                       2,245,908                            2,245,908
                Aa2                                                          80,491                               80,491
                Aa3                                                         202,488                              202,488
                A1                                                          160,861                              160,861
                A2                                                          213,961                              213,961
                Baa3                                                        195,152                              195,152
                NA                                                        2,009,458                            2,009,458
            Corporate stock
                Basic industries                           9,834,637                                           9,834,637
                Capital goods                              9,049,287                                           9,049,287
                Consumer durables                          2,373,793                                           2,373,793
                Consrmier non-durables                     8,011,268                                           8,011,268
                Consumer services                         16,763,309                                          16,763,309
                Energ}'                                    7.040.244                                           7,040.244
                Finance                                   20,098,169                                          20,098,169
                Health care                               13,269,879                                          13,269,879
                Public utilities                           4,417,354                                           4,417,3.54
                Techuolog>'                               21,621,861                                          21,621,861
                Transportation                             3.244.106                                           3,244,106
                Other                                      3,895,019                                           3,895,019
            Mutual fimds
                Real estate                                7,634,807                                           7,634,807
            Exchange traded fimds
                World bond                                  352.886                                              352,886

                     Total Portfolio A                   158,274,915     19,870,969                         178,145,884




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Note 17 - FAIR VALUE MEASUREMENTS (Continued)

                                                              Fail" Value Measurement Based On:
                                                       Quoted Prices          Other                        Total Assets
                                                         In Active         Observable     Unobservable    and Liabilities
                         June 30. 2018                    Mai'kets           Inputs          Inputs       Measured At
                          Description                    (Level 1)          (Level 2)       (Level 3)       Fair Value

         Portfolio B
            Cash and money market funds                    7.269.990                                          7,269,990
            Gowruinent obligations                         1.972.970                                          1,972,970
            Go'^rnmeiit agency obligations                                 16,769,802                        16,769,802
            Brokered certificates of deposit                                  494,050                           494.050
            CoEaferalized mortgage obhgatious                                   7,511                             7,511
            Corporate obligations (a)
                Aaa                                                         2,242,065                         2,242,065
                Aal                                                         1,981,490                         1,981.490
                Aa2                                                         2,481,272                         2,481,272
                Aa3                                                           523,395                           523.395
                A1                                                         13,492,608                        13,492,608
                A2                                                          9,823,568                         9,823,568
                A3                                                          2,692,643                         2,692,643
                NA                                                            476,490                           476,490
            Municipal obligations (a)
                Aaa                                                         1,707,615                         1,707.615
                Aal                                                         4,701,964                         4,701,964
                Aa2                                                         6,206,001                         6,206.001
                Aa3                                                         2,794,035                         2,794,035
                A1                                                          1,014,975                         1,014,975
                A2                                                          1,812,607                         1,812,607
                A3                                                            516,341                           516,341
                NA                                                          3,141.951                         3.141,951

                     Total Portfolio B                     9.242.960       72,880,383                        82,123,343

         Bond-related nortfolio
           Money market fund                                994.782                 -               -           994,782

         Investment in Catholic Umbrella Pool                                 631,522                           631.522

                     Total assets in the fail v^lue
                        hierarchv                     $ 168,512,657    $ 93,382,874      $                 261,895,531




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                                                                                                            Exhibit E
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Note 17 - FAIR VALUE MEASUREMENTS (Continued)
                                                                Fail" Value Measurement Based On:
                                                         Quoted Prices          Otlier                          Total Assets
                                                           In Actiw          Obsei"\^ble    Unobservable       and Liabilities
                          June 30.2018                      Mailcets           Inputs          Inputs          Measured At
                           Description                     (Lewi 1)           (Level 2)       (Level 3)          Fair Value

         Portfolio A assets measured at NAV
            Limited partnerships
                Siguier GufFDistiessed
                   Opportunity Fund ni, LP                                                                         1,322,043
                Siguier Guff" Distressed
                   Opportunity Fund IV, LP                                                                         1,803,848
                Siguier Guff Distressed Real
                   Estate Opportunity Fund E, LP                                                                   3,889,958
                Venture Investment
                   Associates Energy in. L.P.                                                                      3,770,216
         Ponfolio A assets measured at NAV (Continued)
            Fund of fonds
                Harvest MLP Income Fund, L-LC.                                                                     4,371,236
            Hedge feeder fund
                Rimiock High Income PLUS
                   (Cayman) Fund, Ltd.                                                                             4,598,521
            Segiegated portfolio companies
                ABS Offshore SPC Global
                   Segiegated Portfolio Class B                                                                   II,544,145
                MDFLTD Cerberus March 2009
                   Segi-egated Portfolio                                                                               29,433
                MDFLTD HF March 2009
                   Segi"egated Portfolio                                                                               17,759

         Investments measured at net asset value                                                                  31,347,159
                     Total investments                                                                     $ 293,242,690

        (a) Based on Moody's bond credit rating.

         Beneficial Interest iu
           Charitable Remainder Tnist                    $           -   $      580,247    $          -    $         580,247

         Liabilities, at Fair Value
            Asset Retirement Obligation -
                 included in accrued
                 expenses and other                                                        $ 1,048,482     S       1,048,482
            Accrued Pension Liability-                                   $ 43,330,928                             43,330,928
                     Total liabilities                   $           -   $ 43,330,928      $ 1,048,482     $      44,379,410




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                                                                                                                                                       Exhibit E
                                                                                                                                                      (Continued)

Note 17 - FAIR VALUE MEASUREMENTS (Continued)

        The following tables summarize investments measured at fair value based on net asset value (NAV) per share as of June 30, 2019 and 2018.

                                                                                                                           Redemption
                                                                                                                            Frequency
                                                                                                                               and
                                                                                                                           Remaining
         Category                                                                                                              Life,  Redemption Redemption
            of                                 Fair Value                 Investment             Unfimded Commitments       Excluding Restrictions Notice
        Investment                    June 30, 2019 June 30, 2018          Strategy            June 30, 2019 June 30, 2018 Extensions and Terms    Period
                                                                   Invests in Master Fund
                                                                     that seeks to exploit
                                                                                                                                                       120 days
                     Rimrock High                                    inefficiencies in the
                                                                                                                                              10%     prior to the
           Hedge     Income PLUS                                  market dirough the use of
                                                                                                                              Annually    holdback on last day of
        feeder fund (Ca^Tnan) Fund,                                    hedging, modest
                                                                                                                                          redemption    the 4th
                          Ltd                                        leverage, and select
                                                                                                                                                        quarter
                                                                   longer-term total return
                                        $4,750,062     $4,598,521        investments
                        Venture                                                                                               Not
                                                                     Energy-related private
         Limited      Investment                                                                                           Redeemable      Not        Not
                                                                     equity partnerships or
        partnership   Associates                                                                                           Remaining Redeemable Redeemable
                                                                        similar entities
                    Energy IIL L.P.     $3,838,672     $3,770,216                               $2,555,000      $3,185,000 Life - 7 vrs
                                                                     Securities of companies                                  Not
                      Siguier Guff
                                                                      undergoing financial                                 Redeemable
         Limited       Distressed                                                                                                          Not        Not
                                                                       distress, operating                                 Remaining
        partnership   Opportunity                                                                                                       Redeemable Redeemable
                                                                         difficulties, or                                   Life - 18
                      Fund IIL L.P.
                                        $1,095,905     $1,322,043         restructuring           $210,000       $210,000     mos
                                                                     Securities of companies
                      Siguier Guff                                                                                             Not
                                                                      undergoing financial
         Limited       Distressed                                                                                           Redeemable   Not        Not
                                                                       distress, operating
        partnership    Opportunity                                                                                          Remaining Redeemable Redeemable
                                                                         difficulties, or
                      Fund IV, L.P.                                                                                         Life - 3 yrs
                                        $1,622,359     $1,803,848         restructuring           $340,000       S340,000




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                                                                                                                                                      Exhibit E
                                                                                                                                                     (Continued)

Note 17 - FAIR VALUE MEASUREMENTS (Continued)

                                                                                                                                Redemption
                                                                                                                                 Frequency
                                                                                                                                    and
                                                                                                                                Remaining
         Category                                                                                                                   Life,  Redemption Redemption
            of                                    Fair Value                Investment                Unfunded Commitments       Excluding Restrictions Notice
        Investment                       June 30, 2019 June 30, 2018          Strategy              June 30, 2019 June 30, 2018 Extensions and Terms    Period
                                                                     Securities of real estate
                     Siguier Guff                                    companies investing in
                                                                                                                                   Not
                    Distressed Real                                  high quality properties
         Limited                                                                                                                Redeemable   Not        Not
                         Estate                                     appraising below market
        partnership                                                                                                             Remaining Redeemable Redeemable
                     Opportunity                                           value due to
                                                                                                                                Life - 6 VTS
                     Fund II, LP                                    mismanagement or high
                                           S3A14J37      S3,889.958          vacancy                   $760,000    $1,020,000
                                                                    Energy-related and other
                      Harvest MLP
         Fund of                                                      C-Corporation energy
                      Income Fund,                                                                                               Monthly     N/A       30 days
          funds                                                       infrastructure master
                          LLC
                                           $4,09 iJ21    34,371.236    limited partnerships          $1,500,000    $1,500,000
                                                                     Diversified investment
                                                                                                                                                        45 days
                      ABS Offshore                                  strategies throughout the
        Segregated                                                                                                                                    prior to the
                       SPC Global                                   global financial markets
         portfolio                                                                                                               Quarterly   N/A     last business
                       Segregated                                      aimed at generating
         company                                                                                                                                      day of each
                     Portfolio Class B                                absolute returns with
                                                                                                                                                        quarter
                                          511,564,196   $11,544,145       moderate risk
                     MDFLTD
                                                                           Acquire, hold, and
        Segregated    Cerberus
                                                                       distribute the proceeds of
         portfolio   Segregated
                                                                        investments in Cerberus
         company Portfolio March
                                                                           International, Ltd.
                        2009                                S29.433
                    MDFLTD HP                                           Acquire, hold, and
        Segregated
                     Segregated                                     distribute the proceeds of
         portfolio
                   Portfolio March                                  investments in Highfields
         company
                        2009                                $17,759        Capital, Ltd.


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                                                                                    Exhibit E
                                                                                   (Continued)

Note 17 - FAIR VALUE MEASUREMENTS (Continued)

         The table below sets forth a summary of changes in the fair value of the Administrative
         Offices' Level 3 liability for the years ended June 30, 2019 and 2018.

                                                                Asset
                                                              Retirement
                                                              Obligation

                              Balance June 30, 2017           $ 998,554
                                 Accretion                       49,928

                              Balance June 30, 2018            1,048,482
                                 Accretion                        52,424

                              Balance June 30, 2019           $1,100,906




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                        SUPPLEMENTARY INFORMATION
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                                                                                                                                                                                           Schedule 1

                                                                      SCHEDULE OF CHANGES IN NET ASSETS -
                                                          NET ASSETS WITH DONOR RESTRICTIONS - NOT HELD IN PERPETUITY

                                                                        Roman Catholic Church of the Archdiocese of New Orleans
                                                                                        Administrative Offices

                                                                                          For the year ended June 30, 2019
                                                                                         (with comparative totals for 2018)




                                                                                                         Cummings        Cathedral
                                              School          Infirm                         Disaster      Land           Capital       Hector     Margaret                   2019           2018
                                            Endowment         Priests         Burses          Fund       Donation        Campaign       Ragas       Lauer       Others        Totals         Totals

Balances, beginning of year                 S 2,689,878     5 7,384,727      5 579,702      5442,115      $127,125      $ 1,259,493    $376,080    $ 580,247   $ 569,430   S 14,008,797   S 12,882,354

Additions:
  Investment earnings:
      Realized gains                           389,049         109,474         70,687                              -          56,431      6,269                   7,479        639,389        706,104
      Unrealized gains                         146,433          38,812         25,078                                         22,666      2,224                   2,649        237,862      1,243,337
  Changes in value of
      charitable remainder trust                                                                                                                    448,475                    448,475         92,810
  Contributions and arants                                     269,858                        135,024                                                                          404,882      1,967,780

         Total additions                       535,482         418,144         95,765         135,024              -          79,097      8,493     448,475      10,128      1,730,608      4,010,031

Deductions:
  Net assets released tfom restrictions -
     satisfaction of program restrictions      670,005         190,651        122,760         126,015                                   159,350     600,000     247,345      2,116,126      2,883,588

         Net change                           (134,523)        227,493        (26,995)          9,009              .          79,097   (150,857)   (151,525)   (237,217)      (385,518)     1,126,443

Balances, end of year                       S 2,555,355     5 7,612,220      5 552,707      5451,124      $ 127,125     $ 1,338,590    $225,223    $428,722    $332,213    S 13,623,279   S 14,008,797




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                                                                                      Schedule 2

                SCHEDULE OF CHANGES IN NET ASSETS -
   NET ASSETS WITH DONOR RESTRICTIONS - TO BE HELD IN PERPETUITY

                  Roman Catholic Church of the Archdiocese of New Orleans
                                  Administrative Offices

                                  For the year ended June 30, 2019
                                 (with comparative totals for 2018)




                         School          Burses         St. Louis        2019           2018
                       Endowment         Fund           Cathedral        Totals         Totals

Balances,
   beginning of year   $ 11,152,537   $ 1,991,769      $ 1,000,000    $ 14,144,306   $ 14,143,519

Additions -
  contributions                   -         1,058                -          1,058            787

Balances,
   end of year         $ 11,152,537   $ 1,992,827      $ 1,000,000    $ 14,145,364   $ 14,144,306




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                                                                                Schedule 3

          SCHEDULE OF INVESTMENT BALANCES BY CLASSIFICATION

                Roman Catholic Church of the Archdiocese of New Orleans
                                Administrative Offices

                                         June 30, 2019




                            Investment          Non-pooled     Equity
                               Pool             Investments    In CUP           Totals


Operating fond            $ 90,192,773         $84,266,134    $515,700       $ 174,974,607
Funds held for others      130,555,060                   -           -         130,555,(

   Totalinvestments       $220,747,833         $84,266,134    $515,700       $305,529,667




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                                                                                  Schedule 4

          SCHEDULE OF COMPENSATION. BENEFITS. AND OTHER
       PAYMENTS TO AGENCY HEAD OR CHIEF EXECUTIVE OFFICER

              Roman Catholic Church of the Archdiocese of New Orleans
                              Administrative Offices

                               For the year ended June 30, 2019




Agency Head Name: Archbishop Gregory M. Aymond

Purpose
   Salary                                                                                   $0
   Benefits - insurance                                                                      0
   Benefits - retirement                                                                     0
   Benefits - other                                                                          0
   Car allowance                                                                             0
   Vehicle provided by government                                                            0
   Per diem                                                                                  0
   Reimbursements                                                                            0
   Travel                                                                                    0
   Registration fees                                                                         0
   Conference travel                                                                         0
   Continuing professional education fees                                                    0
   Housing                                                                                   0
   Unvouchered expenses                                                                      0
   Special meals                                                                             0

                                                                                            $0

   Note: No public funds were used to pay the Archbishop's salary, benefits, or any other
         compensation during the year ended June 30, 2019.




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         SPECIAL REPORTS OF CERTIFIED PUBLIC ACCOUNTANTS
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                                                            Bourgeois Bennett
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                                                                                             A LIMITED LIABILITY COMPANY




             INDEPENDENT AUDITOR'S REPORT ON INTERNAL
             CONTROL OVER FINANCIAL REPORTING AND ON
        COMPLIANCE AND OTHER MATTERS BASED ON AN AUDIT OF
          FINANCIAL STATEMENTS PERFORMED IN ACCORDANCE
                WITH GOVERNMENT AUDITING STANDARDS



To the Most Reverend Gregory M. Aymond,
       Archbishop of the Roman Catholic Church of
             The Archdiocese of New Orleans,
                   New Orleans, Louisiana.

       We have audited, in accordance with the auditing standards generally accepted in the United
States of America and the standards applicable to financial audits contained in Government Auditing
Standards issued by the Comptroller General of the United States, the financial statements of the
Roman Catholic Church of the Archdiocese of New Orleans Administrative Offices (the
"Administrative Offices"), which comprise the statement of financial position as of June 30, 2019,
and the related statements of activities, functional expenses, and cash flows for the year then ended,
and the related notes to the financial statements, and have issued our report thereon dated November
22, 2019.

Internal Control Over Financial Reporting

       In planning and performing our audit of the financial statements, we considered the
Administrative Offices' internal control over financial reporting (internal control) to determine the
audit procedures that are appropriate in the circumstances for the purpose of expressing our opinion
on the financial statements, but not for the purpose of expressing an opinion on the effectiveness of
the Administrative Offices' internal control. Accordingly, we do not express an opinion on the
effectiveness of the Administrative Offices' internal control.

        A deficiency in internal control exists when the design or operation of a control does not
allow management or employees, in the normal course of performing their assigned functions, to
prevent, or detect and correct, misstatements on a timely basis. A material weakness is a deficiency,
or a combination of deficiencies, in internal control, such that there is a reasonable possibility that
a material misstatement of the entity's financial statements will not be prevented, or detected and
corrected on a timely basis. A significant deficiency is a deficiency, or a combination of deficiencies,
in internal control that is less severe than a material weakness, yet important enough to merit
attention by those charged with governance.


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      Our consideration of internal control was for the limited purpose deseribed in the first
paragraph of this seetion and was not designed to identify all defieieneies in internal eontrol that
might be material weaknesses or signifieant defieieneies. Given these limitations, during our audit
we did not identify any defieieneies in internal eontrol that we eonsider to be material weaknesses.
However, material weaknesses may exist that have not been identified.

Compliance and Other Matters

        As part of obtaining reasonable assuranee about whether the Administrative Offiees'
 fmaneial statements are free from material misstatement, we performed tests of its eomplianee with
eertain provisions of laws, regulations, eontraets, and grant agreements, noneomplianee with whieh
eould have a direet and material effeet on the determination of fmaneial statement amounts.
However, providing an opinion on eomplianee with those provisions was not an objeetive of our
audit, and aeeordingly, we do not express sueh an opinion. The results of our tests diselosed no
instanees of noneomplianee or other matters that are required to be reported under Government
Auditing Standards.

Purpose of this Report

       The purpose of this report is solely to deseribe the seope of our testing of internal eontrol and
eomplianee and the results of that testing, and not to provide an opinion on the effeetiveness of the
Administrative Offiees' intemal eontrol or on eomplianee. This report is an integral part of an audit
performed in aeeordanee with Government Auditing Standards in eonsidering the Administrative
Offiees' intemal eontrol and eomplianee. Aeeordingly, this eommunieation is not suitable for any
other purpose.



                                                  Certified Publie Aeeountants.

New Orleans, Louisiana,
November 22, 2019.




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                 INDEPENDENT AUDITOR^S REPORT ON
                COMPLIANCE FOR THE MAJOR FEDERAL
            PROGRAM AND REPORT ON INTERNAL CONTROL
        OVER COMPLIANCE REOUIRED BY THE UNIFORM GUIDANCE

To the Most Reverend Gregory M. Aymond,
       Archbishop of the Roman Catholic Church of
             The Archdiocese of New Orleans,
                    New Orleans, Louisiana.

Report on Compliance for the Major Federal Program

        We have audited the Roman Catholic Church of the Archdiocese of New Orleans Administrative
Offices' (the "Administrative Offices") compliance with the types of compliance requirements described
in the 0MB Compliance Supplement that could have a direct and material effect on the Administrative
Offices' major federal program for the year ended June 30, 2019. The Administrative Offices' major
federal program is identified in the summary of auditor's results section of the accompanying schedule
of findings and questioned costs.

Management's Responsibility

       Management is responsible for compliance with federal statutes, regulations, and the terms and
conditions of its federal award applicable to its federal program.

Auditor's Responsibility

       Our responsibility is to express an opinion on compliance for the Administrative Offices' major
federal program based on our audit of the types of compliance requirements referred to above. We
conducted our audit of compliance in accordance with auditing standards generally accepted in the
United States of America; the standards applicable to financial audits contained in Government Auditing
Standards, issued by the Comptroller General of the United States; and the audit requirements of Title
2 U.S. Code of Federal Regulations Part 200, Uniform Administrative Requirements, Cost Principles,
and Audit Requirements for Federal Awards (Uniform Guidance). Those standards and the Uniform
Guidance require that we plan and perform the audit to obtain reasonable assurance about whether
noncompliance with the types of compliance requirements referred to above that could have a direct
and material effect on a major federal program occurred. An audit includes examining, on a test basis,
evidence about the Administrative Offices' compliance with those requirements and performing such
other procedures as we considered necessary in the circumstances.

      We believe that our audit provides a reasonable basis for our opinion on compliance for the
Administrative Offices' major federal program. However, our audit does not provide a legal
determination of the Administrative Offices' compliance.

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Opinion on Each Major Federal Program

       In our opinion, the Administrative Offices complied, in all material respects, with the types of
compliance requirements referred to above that could have a direct and material effect on its major
federal program for the year ended June 30, 2019.

Report on Internal Control Over Compliance

        Management of the Administrative Offices is responsible for establishing and maintaining
effective intemal control over compliance with the types of compliance requirements referred to above.
In planning and performing our audit of compliance, we considered the Administrative Offices' intemal
control over compliance with the types of requirements that could have a direct and material effect on
its major federal program to determine the auditing procedures that are appropriate in the circumstances
for the purpose of expressing an opinion on compliance for its major federal program and to test and
report on intemal control over compliance in accordance with the Uniform Guidance, but not for the
purpose of expressing an opinion on the effectiveness of intemal control over compliance. Accordingly,
we do not express an opinion on the effectiveness of the Administrative Offices' intemal control over
compliance.

        A deficiency in internal control over compliance exists when the design or operation of a control
over compliance does not allow management or employees, in the normal course of performing their
assigned functions, to prevent, or detect and correct, noncompliance with a type of compliance
requirement of a federal program on a timely basis. A material weakness in internal control over
compliance is a deficiency, or combination of deficiencies, in intemal control over compliance, such
that there is a reasonable possibility that material noncompliance with a type of compliance requirement
of a federal program will not be prevented, or detected and corrected, on a timely basis. A significant
deficiency in internal control over compliance is a deficiency, or a combination of deficiencies, in
intemal control over compliance with a type of compliance requirement of a federal program that is less
severe than a material weakness in intemal control over compliance, yet important enough to merit
attention by those charged with govemance.

        Our consideration of intemal control over compliance was for the limited purpose described in
the first paragraph of this section and was not designed to identify all deficiencies in intemal control
over compliance that might be material weaknesses or significant deficiencies. We did not identify any
deficiencies in intemal control over compliance that we consider to be material weakness. However,
material weaknesses may exist that have not been identified.

        The purpose of this report on internal control over compliance is solely to describe the scope of
our testing of intemal control over compliance and the results of that testing based on the requirements
of the Uniform Guidance. Accordingly, this report is not suitable for any other purpose.




                                                   Certified Public Accountants.
New Orleans, Louisiana,
November 22, 2019.


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               SCHEDTJT.E OF EXPENDITURES OF FEDERAL AWARD

                Roman Catholic Church of the Archdiocese of New Orleans
                                Administrative Offices

                                    For the year ended June 30, 2019




                                                              Pass-Through
                                                    Federal       Entity
    Federal Grantor / Pass-Through Grantor /        CFDA       Identifying    Provided to      Federal
                 Program Title                      Number      Number       Subrecipients   Expenditures

U.S. Department of Homeland Security'
   Louisiana Governor's Office of Homeland
      Security and Emei^ency Preparedness
         Disaster Grants - Public Assistance
            (Presidentially Declared Disasters)      97.036   1603-DR-LA                     $3,280,060

                Total expenditures of
                   federal award                                                             $3,280,060



   See notes to schedule of expenditures of federal award.




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                    NOTES TO SCHEDULE OF EXPENDITURES
                            OF FEDERAL AWARD

             Roman Catholic Church of the Archdiocese of New Orleans
                             Administrative Offices

                               For the year ended June 30, 2019




Note 1 - BASIS OF PRESENTATION

         The accompanying schedule of expenditures of federal award includes the federal award
         activity of Roman Catholic Church of the Archdiocese of New Orleans Administrative
         Offices (the 'Administrative Offices") under programs of the federal government for the
         year ended June 30, 2019. The information in this schedule is presented in accordance
         with the requirements of Title 2 U.S. Code of Federal Regulations Part 200, Uniform
         Administrative Reqinrements, Cost Principles, and Audit Requirements for Federal
         Awards (Uniform Guidance). Therefore, the amount presented in the schedule may differ
         from the amount presented in, or used in the preparation of, the financial statements.


Note 2 - SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

         The accompanying schedule of expenditure of federal award is presented on the accrual
         basis of accounting and in accordance with the Unifonn Guidance, wherein certain types
         of expenditures are not allowable or are limited as to reimbursement. Grant revenues are
         recorded for financial reporting purposes when the Administrative Offices has met the
         qualifications for the respective grants.


Note 3- INDIRECT COST RATE

         The Administrative Offices has elected not to use the 10% de minimus indirect cost rate
         allowed under the Uniform Guidance.




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              SCHEDULE OF FINDINGS AND QUESTIONED COSTS

              Roman Catholic Church of the Archdiocese of New Orleans
                              Administrative Offices

                                For the year ended June 30, 2019




Section I - Summary of Auditor's Results

   a) Financial Statements

      Type of auditor's report issued on whether the financial statements audited were prepared in
      accordance with GAAP; unmodified

         Internal control over financial reporting:

             • Material weakness(es) identified?                      Yes X No
             • Significant deficiency(ies) identified?                Yes X None reported

             Noncompliance material to financial
              statements noted?                                       Yes X No

   b) Federal Awards

      Internal control over major federal program:

             • Material weakness(es) identified?                      Yes X No
             • Significant deficiency(ies) identified?                Yes X None reported


         Type of auditor's report issued on compliance for major federal program: unmodified

             • Any audit findings disclosed that are required
                 to be reported in accordance with 2 CFR
                 200.516(a)?                                          Yes X No




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                                                                                    (Continued)

Section I - Summary of Auditor's Results (Continued)

   c) Identification of major federal program;

                      CFDA Number                   Name of Federal Program
                          97.036         U.S. Department of Homeland Security
                                            Louisiana Governor's Office of Homeland
                                               Security and Emergency Preparedness
                                                  Disaster Grants - Public Assistance
                                                     (Presidentially Declared Disasters)


                     Dollar threshold used to distinguish between
                        Type A and Type B programs:                 $750,000

                     Auditee qualified as a low-risk auditee?       Yes   X    No



Section 11 - Financial Statement Findings

   No findings.


Section III - Federal Awards Findings and Questioned Costs

   No findings.
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              STATEWIDE AGREED-UPON PROCEDURES (R.S. 24:513)
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                                                                                           . A imiTEO bPA&ILITT COHPAMT




                       INDEPENDENT ACCOUNTANT'S REPORT
                      ON APPLYING AGREED-UPON PROCEDURES


To the Most Reverend Gregory M. Aymond,
       Archbishop of the Roman Catholic Church of
             The Archdiocese of New Orleans,
                   New Orleans, Louisiana.


        We have performed the procedures enumerated below, which were agreed to by the Roman
Catholic Church of the Archdiocese of New Orleans Administrative Offices (the 'Administrative
Offices") and the Louisiana Legislative Auditor (LLA), on the control and compliance (C/C) areas
identified in the LLA's Statewide Agreed-Upon Procedures (SAUPs) for the year ended June 30,
2019. Management of the Administrative Offices is responsible for those C/C areas identified in
the SAUPs.

       This agreed-upon procedures engagement was conducted in accordance with attestation
standards established by the American Institute of Certified Public Accountants and applicable
standards of Government Auditing Standards. The sufficiency of these procedures is solely the
responsibility of the specified users of this report. Consequently, we make no representation
regarding the sufficiency of the procedures described below either for the purpose for which this
report has been requested or for any other purpose.

      The procedures and associated findings are as follows:

      Written Policies and Procedures

      1. Obtain and inspect the entity's written policies and procedures and observe that
         they address each of the following categories and subcategories (if applicable to
         public funds and the entity's operations):

          We obtained the Administrative Offices' Accounting Manual.

          No exceptions were found as a result of this procedure.




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                                                                                   (Continued)

      Written Policies and Procedures (Continued)

         a) Purchasing, including (1) how purchases are initiated; (2) how vendors are
            added to the vendor list; (3) the preparation and approval process of purchase
            requisitions and purchase orders; (4) controls to ensure compliance with the
            public bid law; and (5) documentation required to be maintained for all bids
            and price quotes.

            We observed that the Administrative Offices does not have written policies or
            procedures that address the initiation of purchases, additions to the vendor list,
            preparation and approval process of purchase requisitions and purchase orders,
            compliance with public bid law, or the maintenance of all bid and price quotes
            documentation related to the Disaster Grants. We noted that all purchases for which
            reimbursement is requested under the Disaster Grants are reviewed by Louisiana
            GOHSEP before reimbursement is issued.

         b) Disbursements, including processing, reviewing, and approving.

            We observed that the Administrative Offices' Accounting Manual contains written
            policies and procedures for the processing, reviewing, and approval of certain types
            of disbursements.

            No exceptions were found as a result of this procedure.

         c) Receipts/Collections, including receiving, recording, and preparing deposits.
            Also, policies and procedures should include management's actions to
            determine the completeness of all collections for each type of revenue, (e.g.,
            periodic confirmation with outside parties).

            We observed that the Administrative Offices does not have written policies or
            procedures that address receiving, recording, preparing deposits, or determining the
            completeness of collections. We noted, however that all public funds are
            reimbursements received via electronic funds transfer.

         d) Payroll/Personnel, including (1) payroll processing, and (2) reviewing and
            approving time and attendance records, including leave and overtime worked.

            We observ^ed that the Administrative Offices' Accounting Manual contains written
            policies and procedures for payroll/personnel, including payroll processing, and
            reviewing and approving time and attendance records, including leave and overtime
            worked.

            No exceptions were found as a result of this procedure.


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                                                                                    (Continued)

      Written Policies and Procedures (Continued)

         e) Contracting, including (1) types of services requiring written contracts; (2)
            standard terms and conditions; (3) legal review; (4) approval process; and (5)
            monitoring process.

            We observed that the Administrative Offices does not have written policies or
            procedures that address the types of services requiring written contracts, standard
            terms and conditions, legal review, approval, or monitoring of contracts.

         f) Disaster Recovei'y/Business Continuity, including (1) identification of critical
            data and frequency of backups; (2) storage of backups in a separate physical
            location isolated from the network; (3) periodic testing/verification that
            backups can be restored; (4) use of antivirus software on all systems; (5) timely
            application of all available system and software patches/updates; and (6)
            identification of personnel, processes, and tools needed to recover operations
            after a critical event.

            We observed that the Administrative Offices does not have written policies or
            procedures that address disaster recovery/business continuity, including
            identification of critical data and frequency of backups, storage of backups in a
            separate physical location from the network, periodic testing/verification that
            backups can be restored, use of antivirus software on all systems, timely application
            of all available system and software patches/updates, and identification of personnel,
            processes, and tools needed to recover operations after a critical event.

      Payroll/Personnel

      2. Obtain a listing of employees employed during the fiscal period and management's
         representation that the listing is complete. Randomly select five employees, obtain
         related paid salaries and personnel files, and agree paid salaries to authorized
         salaries/pay rates in the personnel files.

         We obtained a listing of employees employed and management's representation that the
         listing is complete. We selected the two employees in the population and agreed paid
         salaries to authorized salaries in the personnel files.

         No exceptions were found as a result of this procedure.




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                                                                                 (Continued)

      Payroll/Personnel (Continued)

      3. Randomly select one pay period during the fiscal period. For the five employees
         selected under #2 above, obtain attendance records and leave documentation for
         the pay period, and:

            a) Obsei^e that all selected employees documented their daily attendance and
               leave (e.g., vacation, sick, compensatory).

               We obseiv^ed daily attendance for the pay period selected for the two employees
               for the pay period selected. No leave was taken by the two employees for the
               pay period selected.

               No exceptions were found as a result of this procedure.

            b) Obseiwe that supervisors approved the attendance and leave of the selected
               employees.

               We observed that the supervisor of the employees approved the attendance for
               the two employees selected. No leave was taken by the two employees for the
               pay period selected.

               No exceptions were found as a result of this procedure.

            c) Observe that any leave accrued or taken during the pay penod is reflected
               in the entity's cumulative leave records.

               We observed that the leave accrued by the two employees was reflected in the
               Administrative Offices cumulative leave records. No leave was taken by the two
               employees for the pay period selected.

               No exceptions were found as a result of this procedure.

      4. Obtain a listing of those employees that received termination payments during the
         fiscal period and management's representation that the list is complete. Randomly
         select two employees, obtain related documentation of the hours and pay rates
         used in management's termination payment calculations, agree the hours to the
         employee cumulate leave records, and agree the pay rates to the employee
         authorized pay rates in the employee/officials' personnel files.

         No employees related to the grant received tennination pay during the year, per
         management's representation.

         No exceptions were found as a result of this procedure.

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                                                                                    (Continued)

      Payroll/Personnel (Continued)

      5. Obtain management's representation that employer and employee portions of
         payroll taxes, retirement contnbutions, health insurance premiums, and workers'
         compensation premiums have been paid, and associated forms have been filed, by
         required deadlines.

          We obtained management's representation that employer portion of payroll taxes,
          retirement contributions, health insurance premiums, and workers' compensation
          premiums have been paid, and associated fornis have been filed, by required deadlines.

          Due to fraudulent activity which occurred at the third party payroll administrator used
          by the Administrative Offices, state payroll tax withholdings for the second quarter of
          2019, which were remitted timely by the Administrative Offices to the administrator,
          were not remitted to the state by the required deadline.

     Other

     6.   Obtain a listing of misappropriations of public funds and assets during the fiscal
          period and management's representation that the listing is complete. Select all
          misappropriations on the listing, obtain supporting documentation, and obseiwe
          that the entity reported the misappropriation(s) to the legislative auditor and the
          district attorney of the parish in which the entity is domiciled.

          Management represented that there were no misappropriations of public funds. In
          addition, management signed a management representation letter stating there were no
          misappropriations of public funds.

          No exceptions were found as a result of this procedure.

     7.   Observe that the entity has posted on its premises and website, the notice required
          by R.S. 24:523.1 concerning the reporting of misappropriation, fraud, waste, or
          abuse of public funds.

          The Administrative Offices has posted on its premises in the Accounting Office and the
          Building Office and on its website at https://nolacatholic.org/accounting-offlce and
          https://nolacatholic.org/btnlding-office the notice required by R.S. 24:523.1.

          No exceptions were found as a result of this procedure.




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                                                                                    (Continued)

      Management's responses are as follows:

             The Administrative Offices' Accounting Manual will be revised to include written
             policies and procedures that address the initiation of purchases, addition of
             vendors, the approval process for purchases, compliance with public bid law and
             will provide guidance for the maintenance of all bid and price quotes documentation
             related to the Disaster Grants.

             The Administrative Offices' Accounting Manual will be revised to include written
             policies and procedures that address the receiving, recording, preparing deposits,
             and determining the completeness of collections.

             The Administrative Offices' Accounting Manual will be revised to include written
             policies and procedures that address the types of services requiring written
             contracts, standard terms and conditions, legal review, approval, or monitoring of
             contracts.

             The Administrative Offices' Accounting Manual will be revised to include written
             policies and procedures that address disaster recovery/business continuity,
             including identification of critical data and frequency of backups, storage of
             backups in a separate physical location from the network, periodic
             testing/verification that backups can be restored, use of antivims software on all
             systems, timely application of all available system and software patches/updates,
             and identification of personnel, processes, and tools needed to recover operations
             after a critical event.

             All payroll taxes were drafted timely out of the Administrative Offices bank account
             to be paid to the proper tax authorities. However, due to the fraud which occurred
             at the third party payroll administrator, those funds were not remitted properly. As
             soon as management of the Administrative Offices learned of the fraud, a second
             payment was made directly to the state for the 2019 2nd quarter taxes. The third
             party payroll administrator subsequently filed for bankruptcy and, therefore, the
             Administrative Offices is now working through the bankruptcy process to recover
             the funds which were misappropriated as a part of the fraud.

        We were not engaged to, and did not conduct an examination or review, the objective of
which would be the expression of an opinion or conclusion, respectively, on those C/C areas
identified in the SAUPs. Accordingly, we do not express such an opinion or conclusion. Had we
perfonned additional procedures, other matters might have come to our attention that would have
been reported to you.




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                                                                                      (Continued)

       The purpose of this report is solely to deseribe the seope of testing performed on those C/C
areas identified in the SAUPs, and the result of that testing and not provide an opinion on eontrol
or eompliance. Aeeordingly, this report is not suitable for any other purpose. Under Louisiana
Revised Statue 24:513, this report is distributed by the Legislative Auditor as a publie document.




                                                Certified Publie Accountants.

New Orleans, Louisiana,
November 22, 2019.




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